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                      Exhibit B
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                                                                  Page 1

  1      UNITED STATES BANKRUPTCY COURT

  2      SOUTHERN DISTRICT OF NEW YORK

  3      Case No. 22-10943-mew

  4      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

  5      In the Matter of:

  6

  7      VOYAGER DIGITAL HOLDINGS,

  8

  9                     Debtor.

10       - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

11                           United States Bankruptcy Court

12                           One Bowling Green

13                           New York, NY      10004

14

15                           March 7, 2023

16                           2:10 PM

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20

21       B E F O R E :

22       HON MICHAEL E. WILES

23       U.S. BANKRUPTCY JUDGE

24

25       ECRO:       F. FERGUSON

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 1      HEARING re Court reading decision into the record.

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25      Transcribed by:       Sonya Ledanski Hyde

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                                                                 Page 3

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                                                                  Page 4

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                                                                 Page 6

 1      JOHN LOREN

 2              Pro Se Creditor

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 4      GINA DiRESTA

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  1                                P R O C E E D I N G S

  2                   THE COURT:     All right.      We’re here for the

  3      resumption and hopefully completion of our confirmation

  4      hearing in the Voyager case.          There were a few open issues.

  5      Number one, I see that the names of the independent

  6      directors have been filed and disclosed.

  7                   MS. OKIKE:     Correct, Your Honor.

  8                   THE COURT:     Is the representative of the Ad Hoc

  9      Equity Committee on the phone?

 10                   MS. MOYNIHAN:     Yes, Your Honor.           Kelly Moynihan

 11      from Patrick Townsend.

 12                   THE COURT:     Are you pleased with the selection?

 13      Do you have any further objection to the people who’ve been

 14      selected and named?

 15                   MS. MOYNIHAN:     No, Your Honor.           No further

 16      objection.     Thank you.

 17                   THE COURT:     Very good.      We had also left open a

 18      question of just how we were going to treat customer data

 19      and the transfers of data, particularly for customers who

 20      hadn’t yet and may not ever become finance customers.                  Have

 21      we reached any agreements or resolutions of that point?

 22                   MS. OKIKE:     Yes, Your Honor.           Christine Okike of

 23      Kirkland and Ellis on behalf of the Debtors.                 I will read

 24      into the record the proposed resolution.                 So there will be a

 25      two-week period for customers to opt out of transferring

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  1      selfies uploaded, identifications, or bank statements, and

  2      bank account information.          Any opted-out information would

  3      not be acquired by the purchaser in the transaction, and

  4      that notice will be provided by the Debtors at the Debtors’

  5      expense.    The expense reimbursement start date for the

  6      Debtors, which was to begin on March 18, 2000 --

  7                  THE COURT:     Wait a minute.           Selfies?     I couldn’t

  8      write fast enough.

  9                  MS. OKIKE:     Selfies, uploaded IDs.              So driver’s

10       licenses, passports, other forms of identification.

11                   THE COURT:     Okay.

12                   MS. OKIKE:     Bank statements, and bank account

13       information.

14                   THE COURT:     Okay.

15                   MS. OKIKE:     The expense reimbursement provision

16       for the Debtor --

17                   THE COURT:     Social Security numbers?

18                   MAN 1:   Your Honor, that would be required

19       (indiscernible).

20                   THE COURT:     Why?     Just help me.

21                   MAN 1:   That is, along with names and addresses,

22       an important part of identifying and establishing the basis

23       for new customer chats should anyone elect to join the

24       platform in the future.

25                   THE COURT:     But I cannot imagine a piece of

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  1      information more quickly and easily given to you if a

  2      customer wants to do that than their Social Security number.

  3      Why you need that in advance I’m having trouble

  4      understanding.

  5                  MAN 1:   There’s a couple of reasons, Your Honor.

  6      You know, I think -- and really this, if I may explain all

  7      of these issues?

  8                  THE COURT:   Yeah.

  9                  MAN 1:   I think there’s -- the customer data, just

 10      to set the context, Your Honor, is really at the heart of

 11      the transaction for Binance.US.        When we agreed to pay the

 12      $20 million purchase price, we didn’t know how many

 13      customers would agree to join the Binance.US platform.           And

 14      so the value of each individual customer’s future actions on

 15      the platform are as unknown.       The only known commodity that

 16      Voyager has to sell is the data, and that was at the heart

 17      of the deal.

 18                  So the information has, I think, three main value

 19      sources to Binance.US as a technology company that

 20      fundamentally depends upon data.         One is the ability to

 21      simply reach out to a customer and market to them.         Second,

 22      the information is valuable because whenever a customer

 23      onboards to the Binance.US platform -- and they may not do

 24      that today.    They may do that well down the road.       The

 25      cryptocurrency markets are extremely volatile, as we all

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  1      know.   There’s bear markets like we’re in now, and there’s

  2      bull markets.    And when there’s a bull market, many people

  3      join the platform that may not have had any intention to do

  4      so in the bear market.

  5                  Having the KYC information mitigates the actual

  6      monetary cost that Binance.US would have to pay

  7      affirmatively to conduct the KYC each time someone joins.

  8      And so having the Social Security number and other

  9      information that is not part of this excluded information

 10      that Ms. Okike mentioned would be valuable to avoid that

 11      actual cash expense to Binance.US.

 12                  Third, as a technology company that uses data to

 13      enable and empower its operations, even if someone doesn’t

 14      join the platform, the data that Voyager has about their

 15      past activities is very valuable in enabling Binance.US to

 16      market and conduct and enhance its operations going forward.

 17      So that is the source of the value for the transaction --

 18                  THE COURT:   What does somebody’s Social Security

 19      number have to do with that third point you just mentioned?

 20                  MAN 1:   Well, it enables part of the modern

 21      marketing process, right?      That -- as Your Honor knows,

 22      right, we’ve received tons of emails, tons of direct mail.

 23      That’s -- we throw it all out.        We delete it.   But when

 24      there’s more targeted marketing that can go someone based on

 25      knowledge of their circumstances and past transaction

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  1      history, that maximizes the ability to get someone in the

  2      door for a retail operation.

  3                  THE COURT:   If somebody has already opted out of

  4      selfies, uploaded IDs, bank statements, and bank account,

  5      you would need that information if they later wanted to open

  6      an account, right?

  7                  MAN 1:   Not necessarily, Your Honor.        The first

  8      level of KYC that applies to most customers does not require

  9      that information.

 10                  THE COURT:   You don’t require that information

 11      yourself before the account can actually be up and

 12      functioning?

 13                  MAN 1:   My understanding is that not all of that

 14      information is required in all cases.           The --

 15                  THE COURT:   And why is -- you know, if Voyager

 16      sent other information to you, why does the absence of a

 17      Social Security number disable the -- you know, your

 18      customer data in the way you’ve kind of suggested to me?             I

 19      don’t understand that.

 20                  MAN 1:   Well, my understanding is that when a new

 21      customer joins, they would be providing their Social

 22      Security number at that time.        And then Binance.US has to

 23      pay a third party provider to conduct the KYC in order to

 24      run the check on that person.

 25                  THE COURT:   Okay, but -- so -- but you seem to

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  1      have suggested that the KYC information that you’ve gotten

  2      from the Debtors would somehow not be very good without the

  3      Social Security number.       Or are you saying you’re actually

  4      going to do -- use the Social Security numbers in advance to

  5      do KYC checks on everybody who might in the future become a

  6      customer?

  7                    MAN 1:   Your Honor, my understanding from

  8      discussions with my client, and obviously there’s a number

  9      of technical details here, is that, you know, Voyager’s

 10      already done KYC checks on all of their customers of course,

 11      right?      And so part of this transaction is to acquire that

 12      information and have the KYC platform for all of these

 13      customers in place, and that’s a very valuable part of the

 14      transaction alone.

 15                    THE COURT:   Okay.    So whatever this information

 16      is, Voyager gives it to you.         Can it be given to you without

 17      the Social Security number?         Because it seems to me if

 18      somebody wants to be a customer -- if somebody elects not to

 19      let you have the Social Security number and then changes

 20      their mind, all you do is plug that into what you have.            Or

 21      if, as you say, you want to go out and hire somebody to do

 22      an additional check, you would have -- you’re certainly not

 23      going to be put at any great delay because somebody can give

 24      you the Social Security number in an instant.

 25                    MAN 1:   Well, Your Honor, if I may actually

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  1      express my personal experience, about a year ago when crypto

  2      markets were pretty hot before all of this, I actually tried

  3      to open an account.       And I started doing it, and then I got

  4      busy and gave up because it took time and effort to go

  5      through.    And I think part of the benefit of having this

  6      information in place at Binance.US is that it allows

  7      instantaneous KYC checks that have already been, you know,

  8      pre-done by Voyager and can be relied upon to some extent as

  9      well as avoiding the cost of a third-party service.             And so

 10      --

 11                  THE COURT:     But what I’m not understanding and

 12      you’re not helping me with is you can have everything all

 13      set up, customer name, address, all that information that

 14      Voyager gives you.       But the only thing if somebody elects

 15      within your two-week period not to let you have the Social

 16      Security number, all they would have to do is plug that

 17      remaining bit of information into the stuff that you have.

 18      I absolutely fail to understand why you need that

 19      information in advance.

 20                  MAN 1:   Well --

 21                  THE COURT:     It’s information that a lot of people

 22      regard as very sensitive.

 23                  MAN 1:   The -- that -- in completing the KYC check

 24      would come at cash expense to Binance.US.             In addition, the

 25      delay that it takes and requirement for someone to go ahead

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  1      and enter their Social Security number and then run that

  2      check, even if it’s done relatively quickly, that delay,

  3      that extra step could leave to slippage and breakage in a

  4      colloquial sense and lose a customer.

  5                  THE COURT:   Let me try it this way.          If somebody

  6      has not given you this other information and you have their

  7      Social Security number, then they decide they want to be a

  8      customer, and they tell you that, do you have an additional

  9      know-your-customer check that you have to do at that time?

 10                  MAN 1:   My understanding is that if we acquired

 11      all of the information with the exclusion of the information

 12      we’ve agreed to leave behind, we would have the KYC

 13      information in place for Voyager customers.

 14                  THE COURT:   So you’d have it in place.          So if you

 15      get all of that same information except for the Social

 16      Security number, and then somebody wants to be a customer,

 17      why do you have to do anything other than plug in the Social

 18      Security number?     You keep telling me you have to do a new

 19      know-your-customer check.      I don’t understand that.         If you

 20      have all the other information just not the Social Security

 21      number, what’s the big deal?

 22                  MAN 1:   I don't know if that would require a new

 23      expense.    It would certainly involve requiring additional

 24      information from the customer, an additional step in the

 25      process, and that could lose customers.             And that’s part of

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  1      the value for the Binance of the ease of getting people in

  2      the door in this transaction.

  3                  THE COURT:   Adding their Social Security number

  4      would chase them away.       I remind you that, you know, I’m

  5      mindful these are people who only are the people who have

  6      opted out of letting you have that information in the first

  7      place and who might’ve changed their minds and come back.

  8      Do you think they’re going to be scared away because they

  9      have to enter a Social Security number?             That seems

 10      ridiculous.    Doesn’t it?     I’m trying to understand, but I’m

 11      not.   You want the information, but I am absolutely at a

 12      loss as to why you need it and why it would involve any

 13      other expense to you.     Please help me because maybe I’m just

 14      not understanding --

 15                  MAN 1:   I think --

 16                  THE COURT:   -- how this works.          But what you’re

 17      telling me doesn’t help me at all.

 18                  MAN 1:   Well, my understanding is it is relevant

 19      to the second category of expenses, the ease of bringing

 20      someone onto the system.       In addition to that, it is

 21      relevant to the third category of value.

 22                  THE COURT:   But in terms of the ease, if you have

 23      all the other information, the difference in ease is whether

 24      somebody’s Social Security number is already there or

 25      whether they have to type in nine digits.             For crying out

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  1      loud, that’s nothing.     That’s absolutely nothing, right?

  2      And if what you’re saying is, well, that’s going to chase

  3      away people who have already in the first instance decided

  4      they don’t want Binance to have their information but have

  5      later changed their minds, that seems preposterous to me.

  6                  MAN 1:   The third category of information, Your

  7      Honor, is the data analytics part.          And whether or not

  8      someone joins the platform, the data that Voyager has about

  9      their transaction history, and I know Social Security number

 10      would be relevant to that, will empower Binance.US' data

 11      analytics programs to enhance its own operations and

 12      maximize its own profitability.

 13                  THE COURT:   How?    Help me with that.     What does

 14      having the Social Security number allow you to do in terms

 15      of that kind of data marketing that you couldn’t do without

 16      the number if you have all the other information about the

 17      customer’s name and past history, etcetera?

 18                  MAN 1:   I think that specific question, Your

 19      Honor, to be fair, is a level of detail I’d have to speak to

 20      my client about.

 21                  THE COURT:   Okay.    I think -- I’m not convinced

 22      that you need the Social Security numbers, and you’re going

 23      to have to convince me.     Because we are here, based on your

 24      proposal, only talking about whoever would affirmatively opt

 25      out of these arrangements.       And I -- as I said yesterday, I

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  1      understand that there are some legitimate reasons why you

  2      want to have some information, and certainly some contact

  3      information, etcetera.       But that doesn’t necessarily mean

  4      there is good reason for you to have every bit of sensitive

  5      information about a customer at once, particularly if a

  6      customer objects and may not want to be a Binance customer.

  7      And so I am trying to balance those two.            And I understand

  8      you push back on some of this information, but as to the

  9      Social Security numbers, what you’ve told me so far is

 10      pretty unconvincing.     Okay.

 11                  MAN 1:   Okay.    Well, what I’d suggest, Your Honor,

 12      is we can proceed to address the other issues and I’ll --

 13                  THE COURT:   Okay.

 14                  MAN 1:   -- confer with my client.         Thank you.

 15                  THE COURT:   Very good.      Is it too much to hope

 16      that you might have had discussions with the governmental

 17      authorities on the exculpation disputes and resolved them?

 18                  MS. OKIKE:   Your Honor, that is too much to hope.

 19      We have had discussions.

 20                  THE COURT:   Hope springs eternal.

 21                  MS. OKIKE:   Your Honor, I would like to read the

 22      rest of the agreement with respect to the customer

 23      information just --

 24                  THE COURT:   I’m sorry.      Go ahead.

 25                  MS. OKIKE:   -- on the record because it does

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  1      change certain provisions in the APA.            But then I’m happy to

  2      address the exculpation.        So the expense reimbursement start

  3      date for the seller will be moved back from March 18, 2023

  4      to April 1, 2023.     If --

  5                   THE COURT:   Okay.

  6                   MS. OKIKE:   -- the purchaser is ready to close by

  7      April 1, 2023, assuming the closing conditions are satisfied

  8      or waived by them, and Voyager is not, including because

  9      Voyager declines to waive any closing conditions other than

 10      breaches or defaults by the purchaser, then Voyager will

 11      cease to have the expense reimbursement protection.

 12                   THE COURT:   Okay.

 13                   MS. OKIKE:   And the last point is that both

 14      parties acknowledge that the closing condition relating to

 15      entry and finalization of the APA order, so the prior order

 16      of Your Honor authorizing entry into the APA has been

 17      satisfied.     And to its knowledge, there is no breach of the

 18      APA by the other party as of the date of the confirmation

 19      order.

 20                   THE COURT:   Okay.

 21                   MS. OKIKE:   So Your Honor, with respect to the

 22      exculpation, we have provided language to the various

 23      governmental entities.        Honestly, I’m not sure where the

 24      various entities stand.        I believe Texas may be okay with

 25      the proviso that we are proposing with respect to the

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  1      provisions in the confirmation order related to the

  2      governmental entities.       And that proviso basically says

  3      provided further, and it goes through all the things that

  4      the order is not doing in terms of enjoining governmental

  5      entities.    And then says provided further that nothing in

  6      this paragraph shall limit the exculpation of the exculpated

  7      parties set forth in -- and then we put the exculpation into

  8      the confirmation order.       So it’s as set forth in Paragraphs

  9      61 to 62 of this order.

 10                  THE COURT:     Let me read for you and for the

 11      government my own proposal, all right?                I have to note I

 12      believe is narrower than the original plan proposed to which

 13      none of these governmental entities objected.                I propose to

 14      say the following.       To the fullest extent permissible under

 15      applicable law, and without affecting or limiting either the

 16      Debtor release or the third-party releases, and except as

 17      otherwise specified in the plan, no exculpated parties shall

 18      have or incur, and each exculpated party is hereby

 19      exculpated from any liability for damages based on the

 20      negotiation, execution, and implementation of any

 21      transactions approved by the Court.            That’s the standard

 22      language we have that essentially says Creditors,

 23      shareholders, you can’t sue saying somebody did something

 24      stupid when I’ve already made a decision that they haven’t.

 25                  In addition, this is back to the language I

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  1      propose, the plan contemplates certain rebalancing

  2      transactions and the completion of distributions of

  3      cryptocurrencies to Creditors.       The exculpated parties shall

  4      have no liability for and are exculpated from any claim for

  5      fines, penalties, or damages based on their execution and

  6      completion of the rebalancing transactions and the

  7      distributions of cryptocurrencies to Creditors in the manner

  8      provided in the plan.    For the avoidance of doubt, the

  9      foregoing paragraph reflects the fact that confirmation of

 10      the plan requires the exculpated parties to engage in

 11      certain conduct, and the fact that no regulatory authority

 12      has taken the position during the confirmation hearing that

 13      such conduct would violate applicable laws or regulations.

 14                  Nothing in this provision shall limit in any way

 15      the powers of any governmental unit to contend that any

 16      rebalancing transaction should be stopped or prevented, or

 17      that any other action contemplated by the plan should be

 18      enjoined or prevented from proceeding further.       Nor does

 19      anything in this provision limit the enforcement of any

 20      future regulatory or court order that requires that such

 21      activities either cease or be modified or limit the

 22      penalties that may be applicable if such a future regulatory

 23      or court order is issued.

 24                  Similarly, nothing herein shall limit the

 25      authority of the Committee on foreign investment of the

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  1      United States to bar any of the contemplated transactions.

  2      Nor does anything in this provision alter the terms of the

  3      plan regarding the compliance of the purchaser with the

  4      applicable laws in the unsupported jurisdictions before

  5      distributions of cryptocurrencies occur in those unsupported

  6      jurisdictions.

  7                   I think the language that I have just read is

  8      fairly narrow.     And what it essentially says is, you know,

  9      I’ve got a plan in front of me.        One of the things I’m

 10      supposed to consider is whether it’s proposed in a means

 11      that is in compliance with law.        I have a bunch of people,

 12      governmental authorities, who’ve done nothing except hint

 13      that maybe there’s some issue, but nothing else.          Nobody

 14      else made any other opposition.

 15                   And if and when I confirm the plan, people will be

 16      obligated to do what the plan says.          They won’t have a

 17      choice.     And I think for a variety of reasons that I can say

 18      and that I can go into, they’re entitled to the protection

 19      that I’ve just said and entitled to know that when they do

 20      what I compel them to do in between the time I do so and up

 21      until the time somebody else tells them they can’t, they

 22      aren’t going to be subject to some ex-post facto argument

 23      that, hey, we didn’t tell you at the time even though we

 24      could’ve.

 25                   We didn’t even make up our minds at the time, but

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  1      guess what?     You’re liable for penalties, and that court

  2      order wasn’t just approval of a plan.                It was a sentence

  3      that you, with -- under no volition of your own, would have

  4      to do something that was going to subject you to some

  5      liability.     I think that would be an absurd situation for

  6      anybody to be in, and I think that language is perfectly

  7      appropriate under the applicable authorities.

  8                   Do the governmental authorities on the phone

  9      object to the language I just read?

 10                   WOMAN 1:     Your Honor, this **(Indiscernible) from

 11      the State of Texas.        I think that language is excellent.

 12      And subject to the deletion that’s in paragraphs where we

 13      tried to craft such eloquent wording but didn’t, I am fine

 14      with that wording.        Thank you.

 15                   THE COURT:     Okay.

 16                   MR. BARNEA:     Your Honor, this is J.D. Barnea from

 17      the U.S. Attorney’s Office.           We were not able to get all of

 18      that language down.        There may still be some concerns we

 19      have with it, but it’s certainly an improvement over what

 20      we’ve seen, especially if it’s combined with deleting the

 21      injunctive language that was in the proposed order

 22      previously.     However, we still may have some concerns about

 23      it.   I think we would need to see it written.               If there’s

 24      any way to send it around in writing, we’d appreciate the

 25      opportunity to take a look -- a closer look.

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  1                  MS. CORDRY:    And Your Honor, this is Karen Cordry.

  2      I represent a number of other states.            We did not formally

  3      speak up yesterday because it seemed like the issues were

  4      being raised by other folks.        I think the language you have

  5      there seems very appropriate.         And I would note that this

  6      all came up with a proviso that was only introduced on March

  7      3rd before the -- on March 2nd before the SEC said anything.

  8      So we think what you have there does go a very long way

  9      towards dealing with our concerns while also protecting the

 10      (indiscernible) efforts of the people on the -- you know,

 11      who can try to put this plan together.

 12                  I don’t think any of us meant to try to bring

 13      those kind of damages and so forth.           So if those assurances

 14      are helpful, I think that’s -- I think the language seems

 15      fine.   Again, sort of like the United States, I look --

 16      didn’t actually get every bit of it down, but it sounded

 17      appropriate as I was listening to it.

 18                  THE COURT:    All right.

 19                  MR. SLADE:    Your Honor, I have one thing.

 20                  THE COURT:    Go ahead.

 21                  MR. SLADE:    I apologize.       Mike Slade for the

 22      Debtors.

 23                  THE COURT:    Yep.

 24                  MR. SLADE:    There was one sentence towards the end

 25      there where you said nothing limits the penalties that can

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  1      be imposed.     I assume what you meant is if there’s a future

  2      decision by the government that tells -- gives us rules --

  3                   THE COURT:     Yeah, and if there’s a --

  4                   MR. SLADE:     -- and if we violate those rules --

  5                   THE COURT:     If there’s an order saying stop doing

  6      this and you violate that order, I’m not exculpating you

  7      from that.

  8                   MR. SLADE:     That’s right, but they can impose

  9      penalties for the work that we did in reliance on the order

 10      before they --

 11                   THE COURT:     Exactly.

 12                   MR. SLADE:     -- made their decision.

 13                   THE COURT:     Exactly.

 14                   MR. SLADE:     Okay.     We’re on the same page.    Thank

 15      you, Your Honor.

 16                   MR. AZMAN:     Your Honor, Darren Azman for the

 17      Committee.     I just have three minor comments.         I don’t mean

 18      nick the language.        I just wanted to clarify something --

 19                   THE COURT:     Well --

 20                   MR. AZMAN:     -- given the importance of the issues.

 21                   THE COURT:     -- we don’t -- you know, everybody

 22      wants to look at (indiscernible) so let me just say that’s

 23      what -- I proposed something along those lines recognizing

 24      that there may be little tweaks.            But I think that

 25      everybody’s got the substance of it.

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  1                    MR. AZMAN:     I’ll keep my comment to just one point

  2      then --

  3                    THE COURT:     Okay.

  4                    MR. AZMAN:     -- just to make sure it’s clear.         So

  5      you mentioned that the exculpated parties could not be

  6      liable for fines, penalties, or damages.                I think it needs

  7      to be more broader.         It needs to be any civil or criminal

  8      liability.      I don’t think fines, penalties, or damages

  9      necessarily includes somebody going to jail over it.

 10                    THE COURT:     Okay.

 11                    MR. BARNEA:     Your Honor, this is J.D. Barnea

 12      again.      It would certainly not be appropriate for this Court

 13      to enjoin a criminal prosecution of any person for any

 14      reason.

 15                    THE COURT:     Well, if what you’re saying is that

 16      having sat on the sidelines and said nothing to me to

 17      indicate that there’s anything illegal about what these

 18      people are going to do, that you want to reserve the right

 19      to put somebody in jail for doing a rebalancing transaction

 20      that they will have no choice but to do under the order that

 21      I entered, then I disagree with you.              I think the very

 22      suggestion offends me to no end.             I can’t believe that you

 23      would even take the position in front of me that you should

 24      have that right.      It’s preposterous.          It’s absolutely

 25      preposterous.      If you think something’s that illegal, speak

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  1      up, but don’t dare tell me that you kind of want to reserve

  2      that right to do that to somebody.           Go ahead, Mr. Azman.

  3                   MR. AZMAN:   Your Honor, this is not about hiding

  4      in the wings and hoping to arrest someone upon them taking

  5      some action.     This is about the authority of a bankruptcy

  6      court to tell a criminal prosecutor that he’s not allowed to

  7      do his job.     We are not -- there is no intention here to

  8      ensnare people.     We’re not aware of anything specific that

  9      would be in that direction.        It’s simply that it’s not

 10      appropriate for any court or any bankruptcy court to declare

 11      that someone is free from criminal prosecution.

 12                   If they commit a crime, they shall get prosecuted

 13      for it.     If they have a defense that they were acting in

 14      reliance on a court order, that may well be an excellent

 15      defense, and perhaps that would be a reason not to prosecute

 16      them.     But there’s no authority that this court has to order

 17      a criminal prosecutor not to prosecute someone.

 18                   THE COURT:   It’s a defense to the extent that I

 19      say it’s a defense, and that’s what I’m doing.           You know, I

 20      read the Government’s paper, which essentially acknowledges

 21      that courts have held that people are entitled to qualified

 22      immunity for doing what they’re approved to do, and

 23      especially what they’re ordered to do under a court order.

 24      But to suggest that I should allow --

 25                   MR. AZMAN:   Absolutely as an affirmative defense

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  1      in an enforcement proceeding, but not as a pre-determined

  2      bar by a bankruptcy court.

  3                  THE COURT:   Okay.    Please don’t interrupt me in

  4      the middle of a sentence.

  5                  MR. AZMAN:   I’m sorry about that, Your Honor.

  6                  THE COURT:   What I was trying to say is the

  7      suggestion that I should be silent and just leave it for

  8      somebody else to decide whether my order has any such

  9      qualified effect, or what I myself intend my order to have

 10      as its effect, and what I’m telling people to do is

 11      ridiculous.    People who will have to do what my order will

 12      compel them to do are entitled to know, okay?            And they’re

 13      entitled to clarity.

 14                  And some other court who doesn’t know bankruptcy

 15      is entitled to know what I think people are being compelled

 16      to do, and what I think I am authorizing them to do, and

 17      what I am in effect, at least on an interim basis until

 18      somebody actually steps in and gets an order otherwise, I’m

 19      in effect saying by confirming this plan it is okay for you

 20      to do this, okay?    And none of you have stepped forward to

 21      say otherwise.

 22                  So people are -- I think I’m the one that ought to

 23      be defining that, not some future court.            And leaving it to

 24      some future court in complete uncertainty, I don't know how

 25      a bankruptcy case could function.         And your arguments that I

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  1      can’t do this are belied completely by the fact that there

  2      are literally thousands, thousands of confirmed bankruptcy

  3      plans that have done exactly this with no objection by you.

  4      You know, you’ve gotten yourselves all stirred up because

  5      the Debtors overreached in what they wanted.            And now you

  6      want to object to completely ordinary, reasonable provisions

  7      that are well-based in authority to which you haven’t

  8      objected to any of the other bankruptcy cases that I have

  9      ever handled.    So I think your position’s preposterous.             Go

 10      ahead, Mr. Morrissey.

 11                  MR. MORRISSEY:   Good afternoon, Your Honor.

 12      Richard Morrissey for the U.S. Trustee.            The U.S. Trustee

 13      will certainly review the Court’s language and hopefully we

 14      can come to an understanding.       I just wanted to make two

 15      points, Your Honor, about what the Debtors are seeking here

 16      with respect to exculpation.      And again, I hope the language

 17      that Your Honor just read to us will be consistent with our

 18      view.

 19                  The U.S. Trustee believes that the exculpation

 20      provision as written in the plan in these cases was

 21      different from the corresponding provision in

 22      (Indiscernible).    As a factual matter, my understanding,

 23      Your Honor, is that there weren’t regulatory actions

 24      pending.    And in addition, there were no temporal problems,

 25      which is to say that parties in interest were not worried

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  1      about what exculpated parties might do in the future outside

  2      of the Court’s purview.       And I think I raised this point

  3      yesterday.     So we think it was a broader release.           And Your

  4      Honor, another issue is -- that I did not raise --

  5                   MAN 2:   (Indiscernible) --

  6                   MR. MORRISSEY:    -- yesterday has to do with --

  7                   MAN 2:   -- (indiscernible).        You did.

  8                   THE COURT:   Who’s talking -- whoever’s talking on

  9      the phone needs to mute themselves because you’re -- and

 10      wait until it’s your turn to speak, okay?

 11                   MR. MORRISSEY:    Thank you, Your Honor -- has to do

 12      with actions taken upon it by some counsel, which I think

 13      Your Honor used the word “defense” in speaking to Mr. Barnea

 14      before.     I think that is certainly an affirmative defense in

 15      a future proceeding, but it’s an issue as to whether that

 16      should be part of the ruling here.

 17                   THE COURT:   All right.      I’m not purporting in any

 18      way to modify to the extent to which reliance on the advice

 19      of counsel is or is not a defense for anybody.              I’m simply

 20      saying that it’s quite abundantly clear to everybody that

 21      the plan here contemplates rebalancing transactions and

 22      distributions of cryptocurrencies.           Any governmental

 23      authority that thinks that those activities are illegal

 24      anyway is on notice of them and has had a full opportunity

 25      to come in and tell me why they are illegal, the Bankruptcy

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  1      Code says I shouldn’t confirm it if the plan is proposed by

  2      any means that would violate any law.

  3                  I absolutely have been and made clear from the

  4      beginning that I was ready to consider any actual objections

  5      that there was a violation of law.         I don’t have any.    I

  6      have hints that somebody might think, for reasons that I

  7      couldn’t quite explain completely, that the two aspects or

  8      one aspect of the sale of VGX and perhaps something to do

  9      with Binance.US' business operations might raise regulatory

 10      issues, but no idea if that means that the transaction

 11      cannot be actually accomplished.

 12                  And therefore, based on the actual record in front

 13      of me, no reason at all to think that what the plan calls

 14      for people to do would be illegal.         And so when I make that

 15      determination and then any fact by confirming the plan leave

 16      people with no authority but to do those things that I have

 17      in effect found are okay, I think it’s preposterous to

 18      suggest that somebody -- people who do it would be

 19      personally liable.

 20                  You know, the alternative is to tell the

 21      Government you had your chance, you didn’t speak up.           You

 22      know, this is what the Debtors were trying to do last week.

 23      Therefore, forever shut up, there’s nothing illegal about

 24      this.   I’m not going to do that.       I have no intention of

 25      doing that.    That to me would overstep what is reasonable

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  1      here.

  2                    I wish, if the regulators had a problem, that they

  3      would’ve spoken up before me because I have absolutely no

  4      desire to set anybody on a course that raises any regulatory

  5      concerns.      But for whatever reason, the governmental

  6      entities either were unwilling or unable to voice any

  7      opposition on those points.          So if something happens, if

  8      they unlock their regulatory brakes and figure out that they

  9      have some objection, they can try to stop what’s going on,

 10      I’m not going to prevent them from doing that.                 But the idea

 11      that they should also then be able to come in and claim any

 12      kind of liability for the people who have done what I’ve

 13      ordered them to do and the Government took no action to stop

 14      it just seems utterly ridiculous to me.                Okay?

 15                    MR. MORRISSEY:     Thank you, Your Honor.

 16                    MS. CORDRY:    Your Honor, this is Karen Cordry

 17      again.      If I could just say very quickly one point here

 18      which is that a typical exculpation provision does include

 19      in there in the language that the Debtor had written in

 20      another claim that we’re exculpated from all of those sorts

 21      of causes of action.        Unless there’s a determination of

 22      actual fraud, willful misconduct, or gross negligence, which

 23      indicates that it’s possible to have the basic transaction

 24      be approved, but they have some aspect of its being carried

 25      out constitute one of those problems.

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  1                  And I think -- and I’m not trying to speak for the

  2      United States, but my sense is that that may be the kind of

  3      concern that is floating around there, is that the -- that’s

  4      still -- I mean, it’s not like we have been sitting here

  5      getting notices of every transaction that goes through in

  6      terms of the rebalancing and so forth.               I have known

  7      basically from the terms that the overall rebalancing was

  8      illegal, but it is possible.        And I think if we use the term

  9      “possible” that somebody could do something illegal in the

 10      context of that overall approved process.               So I think that’s

 11      sort of what’s floating around out there.

 12                  THE COURT:    Yeah.    You know, I don’t have a

 13      problem.    I don’t think anybody has a problem with that.

 14      Okay?

 15                  MS. CORDRY:    Yep.    So I think that’s kind of where

 16      there was still the concern about.

 17                  THE COURT:    Okay.    All right.         Everybody’s going

 18      to want to see the language and make little tweaks.                 I don’t

 19      -- I’m not in a position to be able to give it to everybody.

 20      I have one copy, which is the copy that I have for the

 21      purpose of making my decision right now.

 22                  MR. MORRISSEY:     Your Honor, Richard Morrissey once

 23      again for the U.S. Trustee.        I was going to raise an issue

 24      that’s separate and apart from confirmation.               I don't know

 25      if you wanted me to raise it now or wait until later in the

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  1      -- later today.

  2                  THE COURT:     Well, I have a lengthy decision to

  3      dictate into the record, and last I heard I had a 5:00

  4      deadline.    Where do we stand on the 5:00 issue?

  5                  MAN 3:     Your Honor, I haven’t spoken with my

  6      client about it and whether we need more time than that.             I

  7      hope not.

  8                  THE COURT:     We obviously are going to -- because

  9      people are going to have to see, if nothing else, the other

 10      revisions that I have already told you I want to make to the

 11      confirmation order and this particular language.          The idea

 12      that I can announce my decision and have an order in the

 13      next two hours and ten minutes is just not going to happen.

 14                  MAN 3:     We’d like to keep things moving along, but

 15      what would Your Honor suggest?

 16                  THE COURT:     I would suggest that people are going

 17      to want to -- once I finish my decision, which is going to

 18      take a while, people are going to want to see the order, and

 19      that you should extend it until 3:00 tomorrow.          Okay.

 20                  MAN 3:     Let me request that from my client.      In

 21      the meantime, we could suggest perhaps sending the language

 22      around to the parties via email to the Debtors.

 23                  THE COURT:     I don’t know if anybody --

 24                  WOMAN 2:     Your Honor, when the attorney for

 25      Binance speaks, he has to go near a microphone.          Otherwise

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  1      the people in Court Solutions can’t hear him.

  2                  THE COURT:   I don’t think anybody has the language

  3      I just read except for me because I wrote it out for myself

  4      here.    I don’t -- it’s not in anything else I’ve given to

  5      anybody else, so...

  6                  MAN 3:   Correct.

  7                  THE COURT:   Okay.

  8                  MAN 3:   Thank you, Your Honor.         All right.

  9                  MR. MORRISSEY:      Your Honor, the issue I was going

 10      to raise just so it’s not a mystery to the Court and the

 11      parties has to do with Rule 3020.         The version I have of the

 12      proposed order, it’s Paragraph 118, Waiver of Stay.              Your

 13      Honor, the U.S. Trustee would oppose the waiver of the stay.

 14      We think that the 14-day stay should be part of the order,

 15      and that Rule 20 should be abided by.           Thank you, Your

 16      Honor.

 17                  THE COURT:   All right.      I understand the

 18      Government’s position.       When is -- if I don’t enter a stay,

 19      when is the effective date likely to occur at the earliest?

 20                  MR. GOLDBERG:     Your Honor, Adam Goldberg for

 21      Binance.US.    We would be working to bring the plan effective

 22      as quickly as possible.

 23                  THE COURT:   Okay.

 24                  MR. GOLDBERG:     I’d (indiscernible) for the Debtors

 25      for anything else.

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  1                  MS. OKIKE:   Yes, Your Honor.           I think -- Christine

  2      Okike for Kirkland and Ellis.         We agree with that.       I do

  3      think it’s going to take, you know, some time, but we will

  4      be working expeditiously to effectuate the plan.

  5                  MR. KIRPALANI:    Good afternoon, Your Honor.

  6      Susheel Kirpalani from Quinn Emanuel on behalf of the

  7      Special Committee of the Debtors.         I just wanted to let the

  8      Court know, I’m sure you have your own way of wanting to

  9      announce things, but I wanted to confirm that Your Honor is

 10      aware, and if not I wanted to make Your Honor and all

 11      interested parties aware, that we have scaled back the

 12      releases.

 13                  THE COURT:   I saw.

 14                  MR. KIRPALANI:    And I’ve got even some additional

 15      line item nits to further scale it back because there were

 16      things in there --

 17                  THE COURT:   Okay.

 18                  MR. KIRPALANI:    -- that I missed.          And so I could

 19      read those changes into the record, or I could do it any

 20      which way you’d like.

 21                  THE COURT:   We’ll final -- I saw an in-concept

 22      approve of what you’ve done, and we’ll get the wordsmithing

 23      done as we enter the order.

 24                  MR. KIRPALANI:    Okay.     Thank you, Your Honor.

 25                  THE COURT:   Okay.    All right.         I want to announce

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  1      my decision with respect --

  2                   MS. SCHEUER:     Your Honor, if I may just have one

  3      moment.     I’m sorry, Your Honor.        Therese Scheuer for the

  4      SEC.   Your Honor, the SEC would also like to request the

  5      opportunity to review the changes to the order and Your

  6      Honor’s proposed -- Your Honor’s --

  7                   THE COURT:     Understood.

  8                   MS. SCHEUER:     -- exculpation language.

  9                   THE COURT:     Understood.

 10                   MS. SCHEUER:     Thank you, Your Honor.

 11                   THE COURT:     Of course.      I understand.   All right.

 12      We are here to consider the proposed confirmation of the

 13      plan of reorganization of the Voyager Debtors, and also to

 14      consider some other motions that have been filed by

 15      Creditors.     The plan contemplates a transaction that is

 16      subject to some strict deadlines, so I’m going to dictate my

 17      findings and conclusions into the record so that our timing

 18      does not unintentionally trigger any termination rights on

 19      the part of the proposed purchaser in the pending

 20      transaction.

 21                   I’m asking the Debtors to have a transcript of my

 22      rulings prepared as promptly as possible and to be submitted

 23      to chambers in Word format.          The decision that I dictate

 24      today will explain my rulings and my findings, and we will

 25      endeavor to enter an order as soon as we can, reasonably can

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  1      based on the rulings and findings.         But once we receive the

  2      transcript, we will correct spelling, citations, inadvertent

  3      errors, and places where I may misspeak or where I may find

  4      that I was less clear than I would have liked during the

  5      course of my dictation.    And that corrected decision will be

  6      entered as the actual official decision of the Court.

  7                  We had a lengthy hearing that began on Thursday,

  8      March 2 and continued through yesterday, Monday, March 6,

  9      and to some extent has continued for another hour’s worth of

 10      argument today.    We have had an unusually large number of

 11      participants in the hearing, including a large number of pro

 12      se parties who are Voyager accountholders.

 13                  I want to pause and thank the pro se parties for

 14      their participation and for the unusual amount of work and

 15      energy that they have put into following this case in

 16      comparison to how relatively smaller creditors tend to treat

 17      other cases that I have handled.        I appreciate that they are

 18      not attorneys, and that they have labored under some

 19      significant disadvantages as a result.             I tried wherever

 20      possible over the course of the hearing to give the pro se

 21      parties the chance to ask their questions even if at times

 22      we may have strayed somewhat from the issues that are

 23      strictly before the Court in this particular hearing.

 24                  Unfortunately, I did have to exclude one pro se

 25      party who refused to abide by my instructions and who was

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  1      disrespectful in his conduct.       But the pro se participants

  2      clearly have made a very significant effort to be helpful

  3      and to follow and to abide by the rules as I explained them,

  4      and I greatly appreciate the fact that they did so.

  5                  The primary issue before me in this hearing is the

  6      Debtors’ request for a final approval of their Disclosure

  7      Statement and confirmation of their proposed Plan of

  8      Reorganization.    The plan, as I said, generally speaking

  9      provides for a sale of customer accounts to Binance.US,

 10      although accountholders can elect not to become customers of

 11      Binance.US.    The plan also includes a backup option in the

 12      event that the proposed deal with Binance.US does not close

 13      or otherwise has stopped from being completed.

 14                  The Debtors have argued that the proposed deal

 15      with Binance.US -- by the way, if I inadvertently say

 16      “Binance”, I mean “Binance.US” whenever I make my comments

 17      here -- that the proposed deal with Binance.US will maximize

 18      the ability to make distributions to accountholders in the

 19      form of cryptocurrencies rather than cash.         This may have

 20      tax benefits to the accountholders, although the tax issues

 21      apparently are not completely clear, and nobody has

 22      presented evidence to me or made legal submissions to me

 23      about the tax issues or tax benefits.

 24                  The Debtors have also argued that the proposed

 25      deal with Binance.US would permit more cryptocurrencies to

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  1      be distributed in-kind than any of the available

  2      alternatives would provide.       They have further argued that

  3      the Binance.US deal would limit the amounts of

  4      cryptocurrency sales that the Debtors would have to make,

  5      and thereby would reduce the extent to which sales by the

  6      Debtors might adversely affect market prices, particularly

  7      in the case of cryptocurrencies where normal trading volumes

  8      are not so robust as others.

  9                   The objections have focused on many things.           Some

 10      objections have raised relatively common bankruptcy issues,

 11      such as objections to some of the releases that the Debtors

 12      have proposed.     Other objections are focused more

 13      specifically on regulatory issues or on the wisdom of

 14      potential dealings with Binance.US.

 15                   Let me say at the outset and as background to my

 16      rulings that I cannot think of another case I have had that

 17      comes before me in quite a setting like this one does.              I’m

 18      aware that there are some people who question the very

 19      concept of cryptocurrencies and the whole idea of

 20      cryptocurrency investment and trading.              I note that no party

 21      in this case has taken such a position, and it’s not for me

 22      to decide whether any particular investments are good ideas

 23      or not.     But it certainly provides an unusual backdrop to

 24      this bankruptcy case.

 25                   I also am aware that Voyager operated and

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  1      Binance.US currently operates in a regulatory environment

  2      that can best be described as highly uncertain.       There are

  3      firms that operate as cryptocurrency brokers or exchanges

  4      and have done so for several years without being subject to

  5      clearer and well-defined regulatory requirements.       The

  6      regulators themselves cannot seem to agree as to whether

  7      cryptocurrencies are commodities, they may be subject to

  8      regulation by the CFTC, or whether they are securities that

  9      are subject to securities laws, or neither, or may in some

 10      cases one or the other, or even necessarily on what criteria

 11      should be applied in making a decision.

 12                  This uncertainty has persisted despite the fact

 13      that the cryptocurrency exchanges have been around for a

 14      number of years.    The current regulatory environment can

 15      only be characterized as uncertain, but the future

 16      regulatory environment can only be characterized as, in my

 17      mind, virtually unknowable.      There have been differing

 18      proposals in congress to adopt different types of regulatory

 19      regimes for cryptocurrency trading.

 20                  Meanwhile, the SEC has filed some actions against

 21      particular firms and with regard to particular

 22      cryptocurrencies, and those actions suggest that perhaps a

 23      wider regulatory assault may be forthcoming.       The CFTC seems

 24      to have announced some positions that may be at odds with

 25      the SEC’s views.    But just how this will all sort itself

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  1      out, how the pending actions relating to cryptocurrencies

  2      will be decided, and just what future regulatory actions

  3      might involve, or how they will affect individual firms or

  4      the industry as a whole is very much unclear.

  5                    Complicating things further is the fact that

  6      Voyager operated and Binance.US continues to operate in an

  7      industry that has been the subject of some severe financial

  8      shocks over the past year.       Many firms were adversely

  9      affected by the loan defaults of Three Arrows, including

 10      Voyager itself.      The Three Arrows’ defaults led to several

 11      bankruptcy filings across the country.               The more recent and

 12      sudden collapse of FTX has reverberated even more throughout

 13      the industry and has also led to some financial problems at

 14      other firms.

 15                    Perhaps most worrisome for me are revelations of

 16      apparent misbehavior and misuse of customer assets at some

 17      firms.      I certainly do not have all of the evidence as to

 18      what happened at FTX, and we will all have to wait until

 19      judgments can be entered in that case before we are sure

 20      exactly what happened.      However, public statements by the

 21      persons currently handling the bankruptcy of FTX have so far

 22      indicated that there was an enormous disparity between the

 23      way that FTX actually operated and the way it actually used

 24      customer assets as opposed to what it had represented to its

 25      customers.

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  1                  I’m also aware of the examiner’s report about the

  2      business conducted at Celsius and how the actual behavior

  3      and custody of customer assets at that firm may have

  4      differed from public statements as to how customer assets

  5      were being treated and custodied.        Once again, I certainly

  6      do not have all the evidence as to what actually happened in

  7      Celsius, and we’ll have to see what further developments

  8      there are in that case.    But the examiner’s report certainly

  9      raised the prospect of a disparity during the way that

 10      particular firm actually operated and the representations it

 11      made to its customers about how assets were handled.

 12                  Perhaps to some degree, those kinds of events and

 13      the fact that regulatory regimes have been so unclear go

 14      hand in hand with each other.       That I don't know for sure.

 15      In this particular case, some accountholders and some other

 16      parties have referred me to newspapers, or magazine

 17      articles, or to a recent letter sent by a group of U.S.

 18      senators all raising questions and accusations about how

 19      Binance.US does business and how its affiliated companies do

 20      business.

 21                  Despite the questions that have been raised in

 22      this regard, however, I have to note that I have been

 23      offered absolutely no, I mean literally zero, no actual

 24      admissible evidence that would support an accusation that

 25      Binance.US is misusing customer assets or is engaged in any

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  1      misbehavior of any kind at all.       Instead, I am in the

  2      absolute unenviable position of having to make a ruling

  3      about the proposed transaction in the face of hearsay

  4      accusations of potential wrongdoing in an industry where

  5      other firms have apparently engaged in real wrongdoing.

  6                  Knowing that many people are raising questions,

  7      and certainly with no desire to put anybody’s futures at

  8      stake, but with little or more accurately no evidence as to

  9      whether there was any good basis at all for any of the

 10      questions that have been raised about Binance.US.       So with

 11      those observations to put things into context, let me turn

 12      to some of the actual objections that have been filed.

 13                  The first one that I will address is the objection

 14      filed by the Securities and Exchange Commission.       The SEC

 15      has argued in its written objection that the Debtors cannot

 16      prove the feasibility of their proposed plan for two

 17      reasons.    First, the SEC argued that in its view the Debtors

 18      had the burden to prove that the Debtors’ own purchases and

 19      sales of cryptocurrencies would not constitute illegal

 20      purchases and sales of securities.

 21                  The objection did not take the position that any

 22      particular cryptocurrencies are securities or otherwise

 23      explain how or why the Debtors’ activities, including their

 24      rebalancing activities, might be illegal, although their

 25      written objection did contain a vague footnote suggesting

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  1      that the VTX token was one as to which some unspecified

  2      issue might exist.

  3                   The SEC also suggested that the Debtors should be

  4      required to prove that Binance.US is not operating as a

  5      securities broker without registering as such.      Once again,

  6      the SEC did not actually take the position that Binance.US

  7      is operating as an unregistered and unlicensed securities

  8      broker.     Instead, it just suggested that the Debtors had the

  9      burden to prove the negative without offering any evidence

 10      or even any reasons to think that Binance.US actually was

 11      doing anything for which it required further SEC

 12      registrations.

 13                   I questioned the SEC about these objections at the

 14      outset of this hearing, and to some extent I rebuked the SEC

 15      attorneys for the vagueness of their submission, although in

 16      fairness to them, I think they were just the messengers and

 17      not necessarily the architects of the message that they were

 18      sent to deliver to me.     Although the SEC contended that the

 19      Debtors somehow how to prove a negative, that is that the

 20      Debtors were not violating securities laws and that

 21      Binance.US is not violating registration requirements for

 22      brokers.

 23                   Once again, the SEC confirmed that it was not

 24      affirmatively contending that the Debtors were doing

 25      anything wrong, nor that Binance.US was doing anything

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  1      wrong.      Nor did the SEC have any guidance to offer to any of

  2      us to suggest what it was that the Debtors allegedly were

  3      supposed to prove with respect to these issues, or how the

  4      Debtors could possibly prove what the SEC wanted them to

  5      prove without receiving any explanation at all from the SEC

  6      and suggest why the Debtors’ activities or Binance.US’

  7      operations might raise legal issues.

  8                    Near the end of the hearing on Friday, the SEC

  9      asked to provide clarification of the SEC’s legal position.

 10      It initially asked if it could state its position only to me

 11      on an in-camera basis, but I denied that request and ruled

 12      that, to the extent the SEC wanted to say something further

 13      about its objection, it ought to be stated in the public

 14      forum where all interested parties could hear and understand

 15      the SEC’s position.

 16                    The SEC representatives then said the following on

 17      the record.      First, we were told that the SEC staff believes

 18      that the VGX token has aspects of a security, but that the

 19      Commission itself has not taken any position on that

 20      subject.      Second, we were told that the SEC staff believes

 21      that Binance.US is operating as a securities exchange

 22      without registering as such.        Once again, the Commission

 23      itself has not taken any position on that subject.

 24                    Although the SEC offered these clarifications as

 25      to what the SEC staff apparently believes, it emphasized

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  1      that only the Commission may take a formal position on

  2      behalf of the SEC, and that the views of the staff did not

  3      necessarily constitute or certainly did not constitute the

  4      official views of the SEC.     Furthermore, although the SEC

  5      had obtained clearance to reveal the staff’s contentions,

  6      the SEC confirmed that it was not authorized and did not

  7      intend to provide any evidence on these issues or even any

  8      further explanation as to the bases for whatever beliefs the

  9      SEC staff may have.

 10                  So to the extent that the SEC nevertheless

 11      contends that these issues are bars to the confirmation of

 12      the Debtors’ plan, I am forced to disagree.        In the first

 13      place, I reject the contention that the Court and the

 14      Debtors somehow were supposed to figure out for themselves

 15      just what it is that the SEC might argue about the VGX

 16      token, or about particular activities in which Binance.US

 17      might be engaged, as well as the reasons why those matters

 18      might have raised securities issues, and then somehow to

 19      offer evidence and legal argument to rebut them.

 20                  This bankruptcy case has been pending since July

 21      2022.   Customers and Creditors have been denied access to

 22      their assets for many months, and they deserve to have a

 23      resolution of this case.     Bankruptcy cases also are very

 24      expensive, and each and every delay means that

 25      administrative expenses eat away at the recoveries that

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  1      Creditors may eventually receive.

  2                   I have a proposed Plan of Reorganization in front

  3      of me, and I have an obligation to make a ruling now as to

  4      whether it can be confirmed.       I cannot simply put the entire

  5      case in an indeterminate and expensive deep freeze while

  6      regulators figure out whether they do or do not think there

  7      is any problem with the transactions that are being

  8      proposed.

  9                   As I said at the outset of the hearing, if a

 10      regulator believes there is a legal issue with respect to

 11      something that is proposed in front of me, I am more than

 12      anxious to hear an explanation and to consider that issue.

 13      I have no desire to approve anything that raises legal

 14      issues.     But I expect a regulator not only to tell me that

 15      it has an actual objection if there is a legal issue, but

 16      also to tell me what the issue is and why it is an issue,

 17      that the other parties may address it and so that I may make

 18      a proper and well-considered ruling on the point.

 19                   Here, I don't know how any party could possibly be

 20      expected to address the SEC’s comments with the limited

 21      guidance that the SEC has provided.          The SEC has not

 22      explained by the VGX token in its mind should be regarded as

 23      a security or what aspects of a security it thinks it has

 24      leaving me only to guess as to what the arguments might have

 25      been.

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  1                  Similarly, the SEC did not explain why it thought

  2      Binance.US might be operating as a securities broker.          I do

  3      not know, for example, if there is one specific

  4      cryptocurrency token that may have been traded by Binance.US

  5      and that the SEC thinks was a security for which the

  6      relevant remedy might simply be to stop trading in that

  7      token, or whether the SEC has different theories.      If we

  8      were to try to address the issues, we would have to guess

  9      just what the issues were and would not even have any idea

 10      if we were even discussing the right points.

 11                  I understand and appreciate that the SEC is

 12      limited in what it can say about potential enforcement

 13      actions, but I cannot conclude from this record that an

 14      enforcement action is even likely, let alone whether it is

 15      meritorious, or even the bases for any of the issues that an

 16      enforcement action might raise.

 17                  I also cannot determine, even if an action were

 18      meritorious, whether it would affect the transactions that I

 19      am being asked to approve.     On this very point, for example,

 20      I asked the SEC’s counsel at the outset of this hearing to

 21      explain what the consequences would be if Binance.US were to

 22      be found to have been acting as a non-registered

 23      broker/dealer.    I asked if that would just mean that

 24      Binance.US might have to stop certain activities while it

 25      pursued a license, or if it would be that Binance.US would

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  1      have to shut down all of its activities.            The SEC said it

  2      could not answer the question.

  3                  Notwithstanding that statement, the SEC took the

  4      position yesterday that the Debtor's disclosure statement

  5      allegedly was deficient because it did not more specifically

  6      predict and describe what the results of a regulatory action

  7      against Binance.US might be.       As I said yesterday, I do not

  8      know how the Debtors could’ve been expected to be more

  9      specific about that question when the SEC itself told me it

 10      could not answer the question.

 11                  In addition, the SEC’s argument on these points

 12      has all been phrased in terms of whether the Debtors can

 13      prove the feasibility of their proposed plan.            Feasibility

 14      in bankruptcy parlance is a shorthand reference to the

 15      provisions of Section 1129(a)(11) of the Bankruptcy Code,

 16      which states that in order to confirm a plan, a court must

 17      find that the confirmation “is not likely to be followed by

 18      the liquidation or the need for further financial

 19      reorganization of the Debtor or any successor to the Debtor

 20      under the plan unless such liquidation or reorganization is

 21      proposed in the plan.”

 22                  Here the only issues the SEC has raised are, A,

 23      whether one specific token, VGX’s, is a security; and B,

 24      whether Binance.US needs to register as a securities broker.

 25      There is no reason why these issues affect feasibility of

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  1      the kind that is discussed in Section 1129(a)(11).          As I’ve

  2      said, the SEC has been aware that the VGX token for some

  3      time it has not even reached a conclusion of its own as to

  4      whether it is a security, let alone taken any action to stop

  5      trading in the token.

  6                  In addition, even if there are problems with the

  7      sale or distribution of VGX, there’s no reason why, to my

  8      knowledge, why that should interfere or impede or affect the

  9      remainder of what the Debtors are proposing.          Similarly,

 10      even if Binance.US were to be told to stop its business

 11      entirely, the Debtors' plan in this case provides that what

 12      the parties have called a toggle option under which the

 13      Binance.US deal could be stopped and the Debtors would

 14      instead make distributions to the extent they could without

 15      using Binance.US.

 16                  There would have to be some practical changes as a

 17      result, and the recoveries that accountholders would receive

 18      would likely diminish, but the plan itself includes the

 19      toggle option.    So there’s no reason to think that the

 20      issues that the SEC has raised as to Binance.US would mean

 21      that the plan couldn’t proceed or that it would need a

 22      further liquidation or reorganization of the kind that is

 23      not already contemplated by the plan.          For that reason, the

 24      issues raised by the SEC do not really go to the feasibility

 25      of the plan as that term is used in Section 1129(a)(11) of

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  1      the Bankruptcy Code.

  2                  I appreciate that the SEC made some effort to tell

  3      me something about what the staff is thinking, but in the

  4      end it did not support the highly conditional objection that

  5      the SEC filed.    This is a court.      One of the requirements

  6      for confirmation of plan is that the plan has been proposed

  7      in good faith and not by any means forbidden by law.

  8      Obviously, I have no intention of approving anything that is

  9      illegal.    As I said during the hearing, and I think I may be

 10      repeating myself now, I expect that if a regulator believes

 11      that what is being proposed in a plan would violate any

 12      applicable statute or regulation, that the regulator will

 13      bring that to my attention so the issue can be resolved.

 14                  The SEC and all other government agencies have had

 15      a full and fair opportunity to object here if they believe

 16      that the rebalancing transactions that are being proposed or

 17      the distributions of cryptocurrencies that are being

 18      contemplated are illegal in any way.         Or if they’re in

 19      violative of any statute, rule or regulation, they have not

 20      actually made any objection on those grounds.         They have

 21      only vaguely hinted at issues that have not even been

 22      described in a manner that would permit the Court or the

 23      parties to address them.

 24                  I have to make decisions based on actual

 25      admissible evidence.    I have no evidence here from the SEC

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  1      or any other party that could support a contention that

  2      Voyager is purchasing or selling any token that should be

  3      considered to be an unregistered security, or that

  4      Binance.US is engaged in any activity for which it is

  5      required to register as a broker dealer.

  6                  I therefore reject and overrule any contention

  7      that the transactions contemplated by the plan would be

  8      illegal, and any suggestion that for regulatory reasons the

  9      Debtors would be unable to complete their proposed

 10      liquidation.    The Debtors have offered evidence that

 11      Binance.US has the operational and financial capability to

 12      perform its obligations and have not been given any evidence

 13      to suggest that Binance.US could not legally perform those

 14      obligations.

 15                  For similar reasons, I reject the contentions by

 16      the SEC and others to the effect that the Debtors allegedly

 17      did not offer sufficient disclosure about potential

 18      regulatory risks.    The disclosure statement that was

 19      distributed included specific disclosures about regulatory

 20      issues faced in so-called unsupported jurisdictions where

 21      Binance.US does not have certain regulatory licenses.

 22                  It also stated that the Debtors’ business is

 23      subject to an extensive and highly evolving regulatory

 24      landscape that involves significant uncertainties, that it

 25      is possible that governmental bodies might disagree as to

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  1      whether particular laws or regulations are applicable to the

  2      Debtors or to the contemplated transactions, that the

  3      Debtors could not predict whether regulators would take the

  4      position that additional regulatory approvals are required

  5      for the completion of the contemplated transactions, and

  6      could not guarantee that there would not be regulatory

  7      issues.

  8                    The disclosure statement also stated generally

  9      that consummation of the transactions might depend on

 10      obtaining approvals of some governmental units, and that

 11      failure to obtain those approvals could prevent or impose

 12      limitations or restrictions on the consummation of the

 13      transactions contemplated by the plan.

 14                    Voyager also disclosed all of the regulatory

 15      inquiries it had received from federal and state

 16      authorities, and nobody has contended to the contrary.

 17      Although I note that none of those inquiries related to the

 18      two issues that the SEC said that its staff had concerns

 19      about.      The disclosure statement disclosed a subpoena from

 20      the SEC that Voyager had received in January 2022 relating

 21      to the Voyager rewards program and apparently to questions

 22      about whether Voyager needed to register as an investment

 23      company.

 24                    The disclosure statement revealed that the SEC had

 25      made a follow-up request for some financial statement

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  1      information and other internal documentation in July 2022,

  2      and that the CFTC had made inquiries and sent a subpoena in

  3      August and September 2022.     And other state and federal

  4      inquiries are also described.

  5                  I do not believe that the disclosure statement,

  6      which was circulated in January 2023, needed to be any more

  7      specific than that, than what it said, particularly with

  8      regard to issues that SEC itself did not identify until

  9      March 2023, and that the SEC itself has not been able to

 10      explain in anything other than an extremely conclusory form.

 11                  A number of questions have also been raised about

 12      the extent to which accountholders would be protected if

 13      they were to become customers of Binance.US.       These

 14      objections have been posed by the SEC, the Office of the

 15      United States Trustee, the State of Texas, and the State of

 16      New York.    Nobody suggests that the Debtors had information

 17      that they were hiding from anyone or that the Debtors had

 18      and failed to disclose.    Nobody has contended that the

 19      Debtors made any misrepresentations as to the Debtors’ own

 20      conclusions about Binance.US.

 21                  Instead, the objecting parties have suggested that

 22      the Debtors should have obtained or should obtain different

 23      or more complete or better assurances from Binance.US as to

 24      how it handles and will handle customer assets, and then

 25      have argued that the prior disclosures supposedly were

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  1      inadequate because they did not already anticipate or

  2      include the results of these additional discussions or

  3      assurances that the objecting parties think the Debtors

  4      should obtain.

  5                  Although these objections have been framed as

  6      complaints about the disclosures that were included in the

  7      disclosure statement, I do not believe that is an accurate

  8      way to characterize them.     As I said during the hearing, it

  9      is more accurate to say that these are substantive questions

 10      masquerading as disclosure issues.         They are substantive

 11      complaints about what the Debtors have done or should be

 12      doing to assure themselves of a lack of problems before the

 13      transaction closes rather than proper objections to the

 14      disclosures that the Debtors already made.

 15                  The Debtors have made clear that their due

 16      diligence as to Binance.US does business is a constant

 17      ongoing project, and that the Debtors will continue to ask

 18      questions and to seek assurances as issues are raised.            We

 19      would all be horrified if the Debtors did not do so.         It is

 20      simply wrong for various parties to suggest that the January

 21      23, 2023 disclosure statement was somehow inadequate because

 22      it did not describe all of the follow-up conversations that

 23      had not yet taken place, or all of the follow-up assurances

 24      that had not yet been received by the Debtors.

 25                  If I were to impose such a standard, it would

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  1      mean, in effect, that the Debtors would have to stop their

  2      due diligence inquiries once a disclosure statement had been

  3      approved for fear that the prior disclosures would

  4      immediately be rendered deficient and that the entire

  5      expensive process would have to start over again to bring

  6      everything forward to what the Debtors had more recently

  7      discovered.    That would be an absurd result.

  8                  I do not find anything deficient in what the

  9      disclosure statement actually said.         First, the disclosure

 10      statement revealed that cryptocurrencies would be

 11      transferred to Binance.US only as and when they were to be

 12      distributed to customers, and that until such time as the

 13      distributions were completed, Binance.US would receive and

 14      hold the cryptocurrencies “solely in a custodial capacity in

 15      trust and solely for the benefit of accountholders who each

 16      open an account on the Binance.US platform.”

 17                  Second, Pages 34 to 36 of the disclosure statement

 18      revealed that the Debtors had sought and obtained various

 19      assurances from Binance.US, including that Binance.US had

 20      the financial resources to complete the proposed

 21      transaction, that Binance.US maintains 100 percent reserves

 22      for its customers’ digital assets, and had substantial

 23      capital remaining even if all customers were to withdraw all

 24      of their digital assets, that Binance.US does not lend any

 25      of its customers’ assets or offer margin products on its

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  1      platform, that customer assets transferred to Binance.US

  2      would be held by Binance.US pursuant to its standard digital

  3      asset wallet infrastructure, which is stored on Amazon Web

  4      Services servers located in Northern Virginia and Tokyo, and

  5      that Binance.US has various security protocols in place to

  6      ensure the safe storage of customer assets, and that those

  7      security protocols have achieved various third-party expert

  8      certifications attesting to their compliance with industry

  9      standards.

 10                   During the hearing, the Debtors also described

 11      other requests for information that they had made and other

 12      assurances they had sought.       That included testimony that

 13      Binance.US had been asked to provide and had provided a

 14      sworn statement as to certain of its business practices.          At

 15      my request, the Debtors obtained the consent of Binance.US

 16      to offer that sworn certificate as evidence of the diligence

 17      the Debtors had conducted and as evidence of the bases for

 18      the conclusions the Debtors had reached.

 19                   The certificate was admitted into evidence and

 20      filed on the docket so that all parties could see it.          It is

 21      dated February 28, 2023, and it states that Binance.US holds

 22      digital assets deposited by its customers solely in a

 23      custodial capacity and on a one-to-one reserve basis, that

 24      Binance.US segregates the customer assets from the company’s

 25      digital assets on its general ledger, that only employees of

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  1      Binance.US are able to move or withdraw customer assets,

  2      that Binance.US does not lend or rehypothecate customer

  3      assets, and that Binance.US maintains security protocols and

  4      procedures that are reviewed by independent parties, and

  5      that comply with various applicable standards.

  6                    This evidence does not satisfy everyone.           It’s

  7      apparent that there are some objectors who are worried about

  8      news reports and who would prefer to have nothing to do with

  9      Binance.US.      During cross-examination, more than a few

 10      objectors pointed out that FTX had also made representations

 11      to the Debtors, and that those statements turned out to be

 12      false.      Though in fairness, the witnesses have testified

 13      that they have ramped up their investigations and increased

 14      the information and assurances that they have sought from

 15      Binance.US in light of what happened with FTX.

 16                    I do not mean to cast dispersions on Binance.US

 17      when I say this, but it is of course true that in the end we

 18      can never be 100 percent sure that a representation is true

 19      and correct even when made under oath.               At the same time,

 20      however, we do not usually presume that people are lying and

 21      we certainly do not usually presume that buyers are

 22      dishonest, particularly absence of any evidence suggesting

 23      that they actually are.

 24                    My role as the bankruptcy judge is, in the first

 25      instance here, to determine whether the proposed plan

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  1      complies with the provisions of the bankruptcy code itself.

  2      As to the business details and the business wisdom of the

  3      arrangement, and as to the selection of the proposed

  4      purchaser, my role is more limited.         So long as the

  5      provisions of the plan comply with the bankruptcy code

  6      requirements, my authority is limited to a determination of

  7      whether the Debtor's desire to do this particular

  8      transaction is within the scope of the Debtors' reasonable

  9      business judgment.    See In re Borders Group, Inc., 453 B.R.

 10      477, 482 (Bankr. S.D.N.Y. 2011) and cases cited therein.

 11                  Furthermore, as I’ve said several times, in

 12      considering that issue, I am required to make decisions

 13      based on the evidence that is submitted to me.            I understand

 14      the point of view of the skeptics here.            Given what has

 15      happened in this industry, I cannot help but be worried

 16      myself about how any firm might handle customer assets in

 17      this business.    But the plan fact of the matter is that I

 18      have been given absolutely no admissible evidence, literally

 19      none, that would support a conclusion that Binance.US will

 20      misuse customer assets or that it cannot be trusted.            The

 21      evidence that is actually before me requires me to conclude

 22      that the Debtors are exercising reasonable business judgment

 23      in electing to proceed with the transaction.

 24                  I’m going to continue in a moment, but we’re going

 25      to take a brief break while I give my throat a brief rest.

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  1            (Recess)

  2                   THE COURT:   Please be seated.          All right.   I had

  3      just explained why I believe that the evidence requires me

  4      to conclude that the Debtors are exercising reasonable

  5      business judgement in electing to proceed with the

  6      transaction.

  7                   That does not mean that I thought that every

  8      detail of the proposed transaction was necessary or even

  9      appropriate.     During the course of the hearing, I asked the

 10      Debtors and Binance U.S. to consider certain changes to the

 11      terms of their proposed arrangement that I believed would

 12      not affect the primary business terms but that would help to

 13      address other concerns and questions that had been raised.

 14                   First, after our hearing in January, the Binance

 15      U.S. deal was clarified to say, and my order entered in

 16      January clearly says that from the time when assets are

 17      transferred to Binance U.S. until the time they are

 18      distributed to accountholders, Binance U.S. would be acting

 19      as a distribution agent for Voyager.           Accordingly, during

 20      that time, Binance U.S. would only be a nominal owner of the

 21      assets.     They would not have any beneficial interest in the

 22      assets during that distribution period, and instead, the

 23      assets would be held strictly in trust for and in a custody

 24      arrangement for either the debtors or the accountholders

 25      respectively.     Binance U.S. has also previously confirmed

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  1      that customers may immediately withdraw assets from Binance

  2      U.S. if they choose to do so.

  3                   During the hearing, I suggested that it might make

  4      sense if what I have referred to as the distribution period,

  5      the period during which Binance is deemed to have no

  6      beneficial interest in the assets, were to continue for some

  7      time after a customer’s account is credited so that

  8      customers who wanted to make immediate withdrawals could do

  9      so without sacrificing any of the protections that the

 10      provisions of the order might provide to them in that

 11      regard.

 12                   Binance U.S. has not only agreed to that suggested

 13      change, I think the parties have gone further.      They have

 14      agreed with the Debtor to include language in the plan

 15      documents to the effect that the assets transferred to

 16      Binance by Voyager, if I’m reading it correct, will always

 17      be held in strict trust and in custody for customers and

 18      that Binance will not have beneficial interest of those

 19      assets.     That language now appears in Article 4, Section C

 20      of the plan.

 21                   Second, I asked that the parties consider a change

 22      to the proposed treatment of accountholders who live in what

 23      the parties have called unsupported jurisdictions, which are

 24      four states in which Binance does not have the licenses

 25      necessary to distribute cryptocurrencies to customers.         I

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  1      noted that under the parties’ contract, customers in other

  2      states who do not become customers of Binance U.S. or who

  3      would just prefer cash distributions for other reasons will

  4      be given cash distributions at the end of a three-month

  5      period.     I understand and will address below the issues that

  6      have been raised regarding the fact that customers in most

  7      states will be able to receive distributions in the form of

  8      cryptocurrencies whereas customers in the unsupported

  9      jurisdictions will have to wait six months to see if Binance

 10      U.S. can obtain the needed approvals and will only be able

 11      to get cash distributions if Binance U.S. cannot get such

 12      approvals.

 13                   The question that I raised with the parties,

 14      however, is as to accountholders in unsupported

 15      jurisdictions who do not want to become Binance U.S.

 16      customers and who would prefer to take a cash distribution.

 17      Customers in most states can get -- excuse me.              Under the

 18      original proposal, customers in most states could get such

 19      cash distributions after three months.              And so I raised the

 20      question as to why customers in unsupported jurisdictions

 21      should not have that same opportunity.              I suggested that it

 22      could be made available by giving customers a simple opt-out

 23      form by which they could elect to take cash distributions

 24      and thereby would be entitled to them at the completion of

 25      the same three-month period.       Binance U.S. agreed to this

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  1      proposed change and the change has been incorporated in the

  2      plan documents.

  3                  Third, I know that the parties’ agreement includes

  4      provisions requiring the transfer of customer data from

  5      Voyager to Binance U.S.     Voyager has argued that its

  6      customer arrangements permit the transfer of that data.        No

  7      party has offered me any contrary evidence or contention.

  8                  Under the parties’ agreement as I understand it,

  9      the only customer data that has been transferred so far is

 10      as to customers who have already made elections to be

 11      customers of Binance U.S.     However, if there is an approval

 12      of the transaction, there would be a wholesale transfer to

 13      Binance U.S. of all remaining customer data, which would

 14      mean that Binance U.S. would receive all customer data for

 15      all Voyager customers even if those customers elect not to

 16      do business with Binance U.S.

 17                  I asked whether these terms could be modified to

 18      provide further protections with regard to the sensitive

 19      customer information of customers who might choose not to be

 20      Binance customers and who may not wish Binance U.S. to have

 21      their information.

 22                  I recognize that one of the things that Binance

 23      U.S. is buying here is the right to market itself to

 24      Voyager’s customers.    I asked, however, whether the transfer

 25      of customer data to Binance could be limited to customer

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  1      contact information in the first instance with the

  2      limitation of the transfer of other more sensitive

  3      information about bank accounts, social security numbers, et

  4      cetera, to such time as a particular customer actually

  5      elects to be a Binance U.S. customer.

  6                  And in response to my concerns, the parties have

  7      tentatively agreed that customers will have a two-week opt-

  8      out period in which time they would be able to notify the

  9      parties and to opt out of any transfer of any selfies or

 10      uploaded IDs or bank statements or bank account information,

 11      thereby giving them the chance to prevent the transfer of

 12      that information to Binance.

 13                  In my mind, there’s still one open issue, which is

 14      as to the transfer of social security numbers and whether

 15      customers within that same two-week opt-out period should

 16      have the right to prevent the transfer of their social

 17      security numbers automatically to Binance U.S.

 18                  Binance U.S. has suggested to me that somehow this

 19      information is important to making it -- putting Binance

 20      U.S. into a position where it could readily open a customer

 21      account if a customer wishes to do so.             But I don’t really

 22      understand if Binance has all the other information just how

 23      hard it would be for a customer at that time simply to enter

 24      a social security number.     Yes.

 25                  MR. GOLDBERG:   Your Honor, I can provide

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  1      additional information on this point now or at any other

  2      time.

  3                  THE COURT:   Go ahead.

  4                  MR. GOLDBERG:   Thank you, Your Honor.   I apologize

  5      for interrupting, but I thought this was a good time.

  6                  For the record, Adam Goldberg of Latham & Watkins

  7      on behalf of Binance U.S.

  8                  I’ve consulted with my client on this issue and

  9      can provide additional details of why the social security

 10      numbers are of great value to this transaction.

 11                  There are essentially two levels of KYC checks

 12      pursuant to the FinCEN CIP rule, that is the Financial

 13      Crimes Enforcement Network, which is a Bureau of the

 14      Department of Treasury Customer Identification Program.

 15                  The first level is basic KYC, and that requires a

 16      name, date of birth, address and social security number.

 17      The second is advanced.     And that requires selfies,

 18      identification documents, and other document uploads.

 19      Binance U.S. has agreed to forego the transfer of the

 20      information that goes to the advanced KYC, which is of

 21      higher long-term value, but is prepared to do so based on

 22      Your Honor’s comments.

 23                  The social security networks allow Binance U.S. to

 24      clear all of Voyager’s customers through the basic level one

 25      KYC at no additional cost.      And that KYC clearance would

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  1      remain in place forever, indefinitely, under the current

  2      regulations.

  3                  If we don’t have that information, the KYC data

  4      that would be otherwise acquired, not including social

  5      security numbers as Your Honor has requested, that would

  6      become stale and would eventually require, should a customer

  7      later elect to join the Binance U.S. platform, for example

  8      at a time of a bull run in the crypto markets and they

  9      change their mind, the cost at present could be up to $20

 10      per customer.    And recall there are a million customers in

 11      this case, perhaps without coincidence, of the alignment of

 12      those figures.

 13                  So without the social security numbers, Binance

 14      U.S. would essentially be acquiring a mailing list for

 15      customer marketing, which is of far inferior value relative

 16      to the ability to pre-clear for KYC.          So we respectfully

 17      submit, Your Honor, that the transfer of social security

 18      numbers is permitted under the policy and that that transfer

 19      is supported by the Debtor’s business judgement, the value

 20      to the estate, and the overwhelming creditor vote.

 21                  THE COURT:   Thank you.      That’s very helpful.      But

 22      I think you said at an earlier time during the hearing that

 23      if a customer has a Binance account and closes it, that the

 24      customer can elect to have Binance wipe out all of the data

 25      it has for that customer.      Is that right?

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  1                  MR. GOLDBERG:     Yes.   That’s right, Your Honor.

  2      There are a few requirements, such as that there is no

  3      pending trades on the account.        But yes, the customer can

  4      delete their account.

  5                  THE COURT:   So what about for people who haven’t

  6      become Binance customers?       Do they have an equivalent point

  7      at which they can ask you to wipe out the information that

  8      you have on them?

  9                  MR. GOLDBERG:     They would have to -- under the

 10      current system, they would have to join, create an account,

 11      and then they could delete that account.

 12                  THE COURT:   Seems like an odd step to require

 13      people to go through.       Is there some point at which -- I

 14      understand you want a marketing period.             Isn’t there some

 15      point at which you can say that those people who haven’t

 16      joined you in six months can have the same option to tell

 17      you to delete their information as somebody who had already

 18      joined you would have?

 19                  MR. GOLDBERG:     Your Honor, I completely understand

 20      your logic here.    And it has some resonance.           But I think

 21      the context of this deal is really from a retail

 22      perspective.    We want the ability to welcome a customer at

 23      any time.    And that’s the value of this transaction.           We

 24      want a customer to be able to come into the store and see

 25      the platform.    And if they want to delete themselves after

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  1      that, they are welcome to do so.         And that’s the business

  2      agreement that was reached among the parties.

  3                  So they could join the platform, never buy or sell

  4      anything, and then cancel out and tell you to get rid of the

  5      information.

  6                  MR. GOLDBERG:   That’s right, Your Honor.

  7                  THE COURT:   All right.      Thanks.    I appreciate the

  8      explanation.

  9                  MR. GOLDBERG:   Thank you.

 10                  THE COURT:   All right.      To get back to my

 11      decision, I have raised issues about the information that

 12      would be transferred and as to abilities of any customers to

 13      control the information that’s been transferred.           Binance

 14      U.S. has agreed that there will be a two-week period during

 15      which customers can opt out of the transfer of selfies,

 16      uploaded IDs, bank statements, and bank account information.

 17      I have raised the question about the transfer of social

 18      security numbers and Binance has now given me a better

 19      explanation of why it wants that information.

 20                  I have a lingering concern that, as I just said to

 21      counsel, the testimony is that customers who actually open

 22      Binance accounts can close them immediately and can

 23      immediately tell Binance to dispose of all the information

 24      that Binance has obtained about them, whereas customers who

 25      don’t open accounts can only exercise that right if they

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  1      first go through the process of opening account and never

  2      even putting anything in it and then giving that same

  3      direction to Binance.       I’m still not a thousand percent

  4      convinced that there isn’t some way to give Binance the

  5      marketing opportunity it wants here while eventually making

  6      it easier for customers to have their data expunged, whether

  7      at the end of a six-month period or some other period.            And

  8      I will leave open the possibility of such a provision in the

  9      final order and just ask Binance, since I have only just

 10      this very instant raised this question, if it will yet take

 11      that additional question from the pestering judge back to

 12      its client and find out if there’s something we can do.

 13      Okay?

 14                  MR. GOLDBERG:     Thank you, Your Honor.

 15                  THE COURT:   By the way, do we have confirmation

 16      that we don’t have a 5:00 deadline?          Because at this pace, I

 17      won’t even be finished with my decision by then.

 18                  MR. GOLDBERG:     Your Honor, Binance U.S. agrees to

 19      your request of 3:00 p.m. tomorrow.

 20                  THE COURT:   Thank you very much.       All right.

 21                  I think that these proposed modifications, subject

 22      to answering that one issue that I have just left, clears up

 23      many of the objections and issues that came up during the

 24      hearing.    There are still some other issues that I will now

 25      proceed to discuss.

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  1                  The Office of the United States Trustee raised

  2      some other objections to the disclosure statement.         One

  3      objection was their contention that the disclosure statement

  4      was not clear as to who would hold cryptocurrencies and in

  5      what capacities.    I actually think the disclosure statement

  6      was clear on that point.     It said, as I noted above, that

  7      cryptocurrencies would only be transferred to Binance U.S.

  8      as and when they would be distributed to accountholders,

  9      that until the distributions were complete, Binance U.S.

 10      would only have a nominal and not a beneficial interest in

 11      the assets to be transferred, and that all such assets would

 12      be held in custody and in trust either for the Debtor’s or

 13      for the account holders as applicable.

 14                  I believe that these disclosures were sufficient.

 15      And, as I have described above, the parties have actually

 16      agreed to additional language to provide further assurances

 17      to customers in this regard.

 18                  The SEC complained that the Debtors did not

 19      disclose or that there are meaningful economic benefits to

 20      the Binance U.S. transaction apart from the $20 million that

 21      Binance would pay -- Binance U.S. would pay in excess of the

 22      cryptocurrencies being transferred.         I am going to overrule

 23      this objection.

 24                  The liquidation analysis that was attached to the

 25      disclosure statement included projections as to what

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  1      creditors’ recoveries would be under the Binance U.S.

  2      proposal, under the alternative toggle proposal, and under a

  3      Chapter 7 liquidation.     It stated that for various reasons

  4      that were explained in the footnotes, the Debtors believe

  5      that the Binance proposal would make approximately $90

  6      million more available for distribution, resulting in

  7      approximately five percent greater recoveries for creditors

  8      when compared to the toggle option and about a 14 percent

  9      increase when compared to a possible Chapter 7 liquidation.

 10      I think those calculations were sufficient to disclose what

 11      the Debtors believed as to the benefits of the Binance U.S.

 12      proposal.

 13                   Now, during the hearing, there were many questions

 14      about these calculations.      The Debtors testified that their

 15      current estimates are that the Binance deal will produce

 16      approximately $100 million more in distributable assets than

 17      the so-called toggle plan would provide.            The Debtors

 18      explained the assumptions that underlie those calculations,

 19      and of course many of them are based on assumptions of what

 20      might happen in the market under certain conditions, and

 21      therefore they are not guarantees by any means.            But I did

 22      find the explanations and testimony to be reasonable and

 23      credible.     And I note that no contrary evidence was

 24      presented.

 25                   The State of Texas contended that the disclosure

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  1      statement was insufficient because it did not make

  2      sufficient disclosures about certain features of the Binance

  3      U.S. terms of use.    However, I note that the disclosure

  4      statement contains many direct links to those terms of use

  5      and all of the arguments about provisions that Texas

  6      believes customer should know about are taken directly from

  7      the terms of use to which the customers were directed.             This

  8      is not an argument about actual disclosures and about actual

  9      information available to customers so much as it is a

 10      contention made in hindsight that the Debtors should have

 11      put greater emphasis on particular provisions that Texas at

 12      this stage thinks are important and that the Debtor should

 13      have highlighted them somehow more prominently in the

 14      disclosure statement instead of making available by

 15      referring customers to the places where they could be found.

 16                  I do not find this to be a reason to reject the

 17      disclosure statement or a basis on which to decide that the

 18      disclosure statement was not adequate and sufficient.          I

 19      must note that the State of Texas reviewed the proposed

 20      disclosure statement before I gave preliminary approval to

 21      it in January 2023 and that the State of Texas filed some

 22      objections and comments at that time and that in those

 23      objections, Texas did not ask for any further disclosures

 24      about the Binance U.S. terms of use.         That just supports my

 25      conclusion that this is not really a complaint about

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  1      something that was material and that had to be disclosed or

  2      highlighted so much as it is a kind of belated decision by

  3      one party that maybe something could have been given greater

  4      emphasis.     But if I were to apply that standard to every

  5      disclosure statement that I ever see, I’m not sure any of

  6      them would ever pass.

  7                  Texas has also complained that the disclosure

  8      statement allegedly did not disclose the potential effects

  9      that a preference lawsuit by Alameda could have on creditor

 10      recoveries.     However, the figures quoted in the objection as

 11      to how much recoveries would be affected were taken from

 12      Exhibit C to the disclosure statement itself, at Page 198 of

 13      140, ECF Document 863.

 14                  During argument, Texas contended that the

 15      information was too hard to find, but I note that the

 16      information was added to the disclosure statement after

 17      there was discussion of the point in January 2023.       And at

 18      that time, I approved the addition of the information at

 19      exactly the place where it ultimately appears.      To my

 20      recollection, no party complained at that time that it

 21      should be placed elsewhere.

 22                  Texas has also complained that the disclosures

 23      about creditors’ recoveries -- complained in its written

 24      objection, I should say, that the disclosures about

 25      creditors’ recoveries might suggest that recoveries under

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  1      the plan could be less than they would be in a Chapter 7

  2      liquidation.     I don’t think Texas is actually continuing to

  3      press this objection.     But just for completeness in the

  4      record, I will describe it and describe the reasons why I

  5      think it has been withdrawn.

  6                   The problem with the written objection is that it

  7      was based on an apples to oranges comparison.           More

  8      specifically, Texas compared what the plan recoveries would

  9      be if Alameda has a very large, $400 million administrative

 10      claim against the estate compared to what the Chapter 7

 11      recoveries would be if Alameda does not have such a claim.

 12                   The truth, however, is that        if Alameda has a

 13      large administrative claim, it would have the same claim in

 14      both the plan in Chapter 7 liquidation contexts and would

 15      have the same proportionate impact on the recoveries in both

 16      contexts.     So it therefore would not affect the Debtor’s

 17      conclusion that the plan recoveries will be better than

 18      recoveries in Chapter 7 would be.

 19                   A number of parties have also objected to the

 20      releases that have been proposed in the plan.           Some of these

 21      objections are based on misconceptions as to exactly how the

 22      releases work.     Just to be clear, the Debtors have proposed

 23      to release some claims that the Debtors themselves otherwise

 24      would be able to pursue or that the estate would be able to

 25      pursue.     Some other parties, Binance U.S. itself for

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  1      example, and the Debtor’s officers and directors, have

  2      agreed to release claims that they might own against the

  3      Debtors and a long list of other parties.

  4                  In addition, creditors were given the opportunity,

  5      and shareholders, to elect to grant releases, or in

  6      bankruptcy terms, to opt in to releases if they chose to do

  7      so.   However, the forms that were sent to creditors made

  8      clear that nobody was obligated to opt in and that the

  9      choice was strictly voluntary.

 10                  Many bankruptcy plans provide and there is case

 11      authority for the proposition that an affirmative vote in

 12      favor of a plan is itself a consent to the grant of releases

 13      that are set forth in the plan.       But the plan in this case

 14      does not say that.    Instead, the plan here provides that no

 15      creditor or shareholder has released any claims that are

 16      owned by that person or entity unless that person has

 17      affirmatively granted such a release by executing the opt-

 18      out release form.

 19                  I believe that this disposes of the objection

 20      filed by the Federal Trade Commission and quote relevant

 21      portions of the objections posed by the United States

 22      Trustee and by certain customers, including Mr. Newsom and

 23      Warren, Mr. Hendershott, Mr. Jones, and Mr. (indiscernible).

 24      They objected to the approval of non-consensual third-party

 25      releases, but there are no non-consensual third-party

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  1      releases here.    There is a separate issue regarding the

  2      exculpation provisions of the plan that I will discuss in a

  3      moment, but there are no non-consensual third-party

  4      releases.

  5                  There are also challenges to some of the

  6      settlements and releases of the Debtor’s own claims that are

  7      included in the plan.    The United States Trustee filed an

  8      objection stating that the released party and releasing

  9      party definitions should not include the winddown debtors.

 10      My understanding is that that change has been made and that

 11      this particular objection is moot.

 12                  The Debtors have also proposed a settlement of

 13      claims against the Debtors’ CEO, Mr. Ehrlich, and a former

 14      chief financial officer, Mr. Psaropoulos.          The Debtors

 15      offered evidence that two independent directors had been in

 16      charge of the investigation of claims against certain

 17      insiders, that the special committee hired outside counsel,

 18      the Quinn Emanuel firm, to assist in that investigation,

 19      that the special committee had concluded that the only

 20      claims against insiders that were worth pursuing were claims

 21      against Mr. Ehrlich and Mr. Psaropoulos relating to the

 22      Three Arrows loans, that the special committee further

 23      concluded that those claims would be subject to various

 24      defenses and that the Debtors did not believe and that the

 25      directors, excuse me, did not believe that the claims were

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  1      slam dunks, that the committee had investigated -- special

  2      committee had investigated the officers’ resources and that

  3      the proposed settlements would provide for payments that

  4      represent a significant portion of the officers’ available

  5      assets, that the Debtors would release other claims against

  6      the two officer but would not actually release claims

  7      relating to the Three Arrows loans and instead would only

  8      agree that any further recoveries on the Debtor’s claims as

  9      to those loans would come from insurance proceeds and not

 10      from the individual assets of the settling defendants.

 11                  The Debtors also reserve their rights to undo a

 12      transaction by which Voyager allegedly paid as much as $10

 13      million just before its bankruptcy filing for an additional

 14      $10 million of director and officer liability coverage.

 15                  When considering a settlement such as this, the

 16      applicable Second Circuit authority makes clear that my role

 17      is to determine whether the Debtors’ decision to settle was

 18      a reasonable one after considering a number of factors.

 19                  In this case, consistent with the applicable

 20      caselaw, I have considered the nature of the claims that

 21      would have been asserted, the legal defenses that could have

 22      been asserted, including the business judgement defense, the

 23      testimony about additional defenses that could have been

 24      asserted under the terms of certain exculpatory language in

 25      the Debtor’s bylaws or other governing documents, the

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  1      benefits of the proposed settlement, testimony that the

  2      settlement was the result of arm’s length bargaining, the

  3      testimony about the size of the settlement payments in

  4      relation to the settling parties’ resources, the fact that

  5      the settlements preserve the Debtor’s rights to pursue the

  6      Three Arrows claim further, though further recoveries on

  7      such claims would be limited to insurance proceeds, the

  8      competency and experience of the counsel retained by the

  9      special committee, and the support for the settlement by the

 10      official committee of unsecured creditors.             See Iridium

 11      Operating LLC v. Official Committee of Unsecured Creditors

 12      (In re Iridium Operating LLC), 478 F.3d 452, 462 (2d Cir.

 13      2007), citations omitted.

 14                  I conclude after considering the relevant factors

 15      that the settlement with Mr. Ehrlich and Mr. Psaropoulos is

 16      a reasonable one and should be approved.             I understand that

 17      this is very disappointing to some of the pro se parties who

 18      have appeared, a number of whom expressed a strong

 19      resentment towards the two settling parties and who

 20      expressed a strong desire to pursue them more vigorously and

 21      to demand a higher percentage of their net worth as a part

 22      of any settlement.    I sympathize with their frustrations,

 23      but the only actual evidence I have on these relevant points

 24      is the evidence that I have described.             And I am forced to

 25      conclude from that evidence that the settlement is in fact a

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  1      reasonable one.

  2                  The releases that the Debtors proposed to give

  3      were not limited to the releases to be granted as part of

  4      the settlement with Mr. Ehrlich and Mr. Psaropoulos.

  5      Instead, the Debtors also proposed to grant broad release of

  6      claims that the debtors might have against a number of other

  7      parties.    The parties who would be the beneficiaries of

  8      those releases included the Official Committee of Unsecured

  9      Creditors and its members together with a long list of

 10      released professionals which appeared to include all of the

 11      law firms and other advisors in these cases, plus all

 12      “released Voyager employees”, a term which was defined as

 13      “all directors, officers, and persons employed by each of

 14      the Debtors and their affiliates serving in such capacity on

 15      or after the petition date but before the effective date.”

 16                  The scope of the releases that the Debtors

 17      proposed to give to such persons was extremely broad.          The

 18      releases proposed to free all released parties from all

 19      cause of action, known or unknown, that the Debtors could

 20      have asserted in their own right “or on behalf of the holder

 21      of any claim.”    I really do not understand this latter

 22      phrase at all.    If it is somehow intended to mean that a

 23      third party’s own claim would be released on the theory that

 24      the Debtor somehow could have asserted it in some kind of

 25      representative capacity, it is too vague and excessive and I

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  1      won’t allow it.

  2                  The plan also proposed to release all of the

  3      released parties from any claim of any kind that the Debtors

  4      might have against those released parties.         And the phrase

  5      goes on and on.    “Based on or relating to or in any manner

  6      arising from in whole or in part the Debtors...their capital

  7      structure, the purchase, sale, or rescission of the purchase

  8      or sale of any security of the Debtors, the subject matter

  9      of or the transactions giving rise to any claim or interest

 10      that is treated in the plan, the business or contractual

 11      arrangements between any debtor and any released party, the

 12      Debtor’s out-of-court restructuring efforts, intercompany

 13      transactions between or among a debtor and another debtor,

 14      or upon any other act or omission, transaction, agreement,

 15      event, or other occurrence related to the Debtors taking

 16      place on or before the effective date but with an exclusion

 17      for actual fraud, willful misconduct, or gross negligence.”

 18                  The evidence before me, however, did not suggest

 19      that the Debtors or the special committee had done any

 20      investigation or made any careful consideration of all of

 21      the types of claims that would be covered by this sweeping

 22      language.    I believe Mr. Kirpalani acknowledged that much

 23      during oral argument yesterday.

 24                  As I said yesterday, this is not a release that is

 25      tailored to claims that have actually been renewed and

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  1      passed by the Debtor.    Instead, it is a release that is

  2      deliberately as broad and all-encompassing as possible

  3      untethered to any actual review of many of the claims that

  4      would be subject to the release.

  5                  I therefore do not believe that the evidence

  6      before me justifies and warrants the full scope of those

  7      releases as they were proposed, that the Debtors have since

  8      proposed to modify the terms of the proposed releases so

  9      that they will be limited to new defined term language

 10      matters that the special committee actually investigated.         I

 11      may have to look at some of that language myself and will

 12      possibly have tweaks to it in the final confirmation order.

 13      But in concept, I think that complies with the comments that

 14      I made yesterday or my rulings today and that it will be

 15      acceptable.

 16                  I want to pause to reemphasize a point that came

 17      up several times during the hearing.         A number of

 18      accountholders or shareholders complained during the hearing

 19      that they felt that they had been misled as to Voyager’s

 20      financial condition.    If a customer or shareholder believes

 21      he or she was misled or that he or she took actions that he

 22      or she otherwise would not have taken and suffered damages

 23      as a result based on any claim of misrepresentation of

 24      Voyager’s financial condition, claims based on those

 25      injuries would belong to the customers or shareholders.

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  1      They would not belong to the Debtors or the estate.

  2                  The Debtor’s proposed releases would release

  3      claims that the Debtors were injured due to mismanagement or

  4      bad decisions by officers or employees.            The claims for

  5      injuries directly suffered by customers or shareholders,

  6      injuries that were not just derivative of injuries directly

  7      suffered by the Debtors are not affected.

  8                  The Office of the United States Trustee also

  9      objected to the scope of the proposed exculpation provision

 10      in the plan.    Broadly speaking, that provision states that

 11      certain parties do not have liability for certain

 12      transactions and actions that occurred during the course of

 13      the bankruptcy case or that will occur in the implementation

 14      of a confirmed plan.

 15                  It is routine that bankruptcy plans contain

 16      provisions that state that fiduciaries and other parties do

 17      not incur liability by having engaged in transactions that

 18      the court has approved and having taken actions that the

 19      court has directed them to take.

 20                  In this case, the version of the plan that was

 21      circulated to creditors and other parties-in-interest in

 22      January, Docket Number 852, included a proposed exculpation

 23      provision that was fairly broad.        It stated in relevant part

 24      that exculpated parties would have no liability or anything

 25      they had done during the course of the bankruptcy cases that

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  1      -- or anything that they would do in the course of

  2      administering the plan and further stated that they would be

  3      deemed to be in compliance with all applicable laws

  4      regarding not only the solicitation of votes, but the

  5      distribution of considerations pursuant to the plan.         And

  6      therefore, an account of those distributions would not be

  7      liable at any time for violation of any applicable law,

  8      rule, or regulation governing the solicitation of

  9      acceptances or rejections of the plan or such distributions

 10      made pursuant to the plan.

 11                  I have previously issued a decision as to what I

 12      regard as the proper scope of an exculpation provision and

 13      the legal justifications for it.         See In re Aegean Marine

 14      Petroleum Network Inc., 599 B.R. 717 (Bankr. S.D.N.Y. 2019).

 15                  As I noted in Aegean, exculpation provisions are

 16      to some extent based on the theory that court-supervised

 17      fiduciaries are entitled to qualified immunity for their

 18      actions.    However, a proper exculpation provision is also a

 19      protection for court-supervised and court-approved

 20      transactions.     As I noted there, parties should not be

 21      liable for doing things that a court authorizes them to do

 22      and that a court decides are reasonable and appropriate

 23      things to do and in many instances that a court may direct

 24      them to do.     See e.g. Airadigm Communications Inc. v. FFDD

 25      (In re Airadigm Communications Inc.), 519 F.3d 640, 655-657

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  1      (7th Cir. 2008) approving a plan provision that exculpated

  2      an entity that funded a plan from liability arising out of

  3      or in connection with the confirmation of a plan, except for

  4      willful misconduct.

  5                  In re Granite Broadcasting Corp., 369 B.R. 120,

  6      139 (Bankr. S.D.N.Y 2007), approving an exculpation

  7      provision that was limited to conduct during the bankruptcy

  8      case and noting that the effect of the provision is to

  9      require that any claims in connection with the bankruptcy

 10      case be raised in the case and not saved for future

 11      litigation.

 12                  My reasoning in the Aegean case has been approved

 13      and adopted by other courts in other cases.        See e.g. In re

 14      Latam Airlines Group S.A., 2022 Bankr. LEXIS 1725 (Bankr.

 15      S.D.N.Y. June 18, 2022), In re In re Murray Metallurgical

 16      Coal Holdings, 623 B.R. 444 (Bankr. S.D. Ohio 2021).        Such

 17      provisions are proper to protect those who are authorized

 18      and who may be directed by the confirmation of a plan to

 19      carry out the terms of the plan.        See In re Ditech Holding

 20      Corp., 2021 Bankr. LEXIS 2274 (Bankr. S.D.N.Y Aug. 20,

 21      2021).

 22                  In this case, the Debtors and the United States

 23      Trustee apparently had discussions, and my understanding is

 24      that they had tentatively agreed that the proposed

 25      exculpation language in the plan and confirmation order

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  1      would be scaled back to be more in the lines of what I

  2      ordered in the Aegean case.      This became a much bigger

  3      issue, however, when at the end of last week, the Debtors

  4      filed revisions to their proposed confirmation order that

  5      included a number of paragraphs and additions to paragraphs

  6      that could have been read as barring all federal and state

  7      governmental entities and any other parties at any time from

  8      making any assertion of any kind that the Debtors, Binance

  9      U.S. or their representatives had done anything of any kind

 10      that violates any federal or state law or regulation.

 11                  It is not my intention to approve anything of that

 12      breadth, and I believe I made that clear as soon as the

 13      issue came up yesterday.

 14                  As we discussed the issue yesterday, however, the

 15      parties circled back to the proposed exculpation provisions.

 16      And certain governmental entities who previously had taken

 17      no position whatsoever and made no objection whatsoever to

 18      the original exculpation provisions suddenly took the

 19      position that as a matter of law, no exculpation provision

 20      of any kind can be granted insofar as it would relate to any

 21      federal or state statute or regulation.

 22                  As somebody put it during argument yesterday, the

 23      government’s position was that any officers or directors or

 24      entities who will implement a confirmed plan just have to

 25      take their chances as to whether the government might

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  1      contend that what they’re doing is illegal and even as to

  2      whether the government might seek to punish them for doing

  3      not only what I had authorized, but what I had directed them

  4      to do as a matter of the confirmed plan.

  5                   Frankly, I think this position by the government

  6      is wholly unreasonable and is based on a serious

  7      misunderstanding of just what it means when a court confirms

  8      a plan of reorganization and the legal reasons for the

  9      exculpation.

 10                   The approval of a plan of reorganization does not

 11      just give a debtor an option to proceed with what the plan

 12      provides.     Instead, Section 1142(a)(1) of the Bankruptcy

 13      Code states that “The debtor and any entity organized or to

 14      be organized for the purpose of carrying out the plan shall

 15      carry out the plan and shall comply with any orders of the

 16      court.”     11 U.S. Code § 1142(a)(1).

 17                   Section 1142 thereby imposes an affirmative

 18      statutory obligation on the debtors, other entities, and

 19      their personnel to do what the plan contemplates.      In

 20      effect, the confirmation order acts as a court order that

 21      the plan be carried out.      In this case, confirmation of the

 22      plan will require the debtors, Binance U.S. and their

 23      respective personnel and representatives, to complete the

 24      rebalancing transactions that the plan contemplates and to

 25      make the distributions of cryptocurrencies that the plan

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  1      contemplates.    Once in confirm the plan, they will have no

  2      choice but to do so.

  3                  Here, all of the relevant governmental entities

  4      have been on notice of the proposed transactions.       They had

  5      every opportunity to tell me if they believed that anything

  6      contemplated by the plan would violate any applicable

  7      statue, rule, or regulation.       Four states have taken the

  8      position that Binance U.S. cannot open customer accounts in

  9      those states without additional approvals, and the plan

 10      specifically takes account of those objections and that

 11      fact.   No other regulators have contended during the

 12      confirmation hearing that there is anything illegal in what

 13      the plan contemplates.     As noted above, the SEC has hinted

 14      vaguely that it thinks there might be issues with the

 15      Debtor’s sales of VGX and/or with some unspecified aspect of

 16      Binance U.S.’s business.      But the SEC has explicitly stopped

 17      short of contending that anything actually is illegal and

 18      has repeatedly declined to offer evidence or to take a more

 19      firm position on these points.

 20                  In short, what the government is requesting is

 21      that I enter a confirmation order that will have the effect

 22      under Section 1142 of the Code of compelling employees,

 23      officers, professionals, and entities to do the rebalancing

 24      transactions that the plan contemplates and to make the

 25      distributions that the plan requires while in the view of

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  1      the government those same people and entities might then be

  2      liable for fines, sanctions, damages, or other liabilities

  3      just for doing what my confirmation order affirmatively

  4      obligates them to do.      And the government contends that this

  5      daunting prospect of future liability should hang over the

  6      heads of the parties and their personnel even though the

  7      government itself has had every opportunity to identify any

  8      legal issues that are posed by the transactions and is not

  9      prepared today to say that there is anything wrongful about

 10      what we are currently contemplating.

 11                    That position is absurd.       If the government really

 12      wants to litigate the legality of the proposed transaction,

 13      it has been free to do so and should have done so during

 14      this hearing.      Similarly, if the government truly wishes for

 15      me to make a decision today as to whether the transactions

 16      are or are not legal and to make that binding, then I will

 17      do so.      But if I have to do that based on the evidence that

 18      has actually been offered to me and if I were to have to

 19      make that decision today, I would have no choice but to

 20      conclude that the transactions are perfectly legal because

 21      nobody has offered any evidence to the contrary to me.

 22      We’re not attempting to do that to the government, although

 23      I think maybe the Debtors were attempting to do that by the

 24      proposals they made at the end of last week.

 25                    We’re not trying to restrict the SEC or any other

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  1      governmental entity’s ability to argue in the future that

  2      the transactions that we are authorizing and directing

  3      should be stopped or prevented from going further for

  4      regulatory reasons of any kind.

  5                  However, it is entirely appropriate that I ensure

  6      that in the meantime, that the people and entities who will

  7      be directed and required by my confirmation order to

  8      complete the transactions contemplated by the plan will not

  9      themselves face liability for having already done things

 10      that I required them to do and that the government elected

 11      not to challenge at the time that requirement was imposed.

 12                  I do agree that a modification of the original

 13      exculpation provision is appropriate, and I am prepared to

 14      hold that the exculpation provision should be modified to

 15      say something along the lines of the following, recognizing

 16      that there will be some inevitable further wordsmithing and

 17      that the proposed order will reflect that wordsmithing.

 18      What I have in mind is language to the following effect.

 19                  To the fullest extent permissible under applicable

 20      law and without affecting or limiting either the debtor

 21      release or the third-party release and except as otherwise

 22      specified in the plan, no exculpated party shall have or

 23      incur and each exculpated party is hereby exculpated from

 24      any liability for damages based on the negotiation,

 25      execution, and implementation of any transactions approved

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  1      by the Bankruptcy Court.      That’s the standard part of the

  2      language that essentially just says that if you have pursued

  3      a transaction that I have approved, you can’t be sued later

  4      by somebody saying it was unreasonable.             Any claims about

  5      the reasonableness of the transaction should have been made

  6      to me.

  7                   The proposed language would continue, in addition,

  8      the plan contemplates certain rebalancing transactions and

  9      the completion of distributions of cryptocurrencies to

 10      creditors.     The exculpated party shall have no liability for

 11      and are exculpated from any claim for fines, penalties,

 12      damages, or other liabilities based on their execution and

 13      completion of the rebalancing transaction and the

 14      distributions of cryptocurrencies to creditors in the manner

 15      provided in the plan.

 16                   For the avoidance of doubt, the foregoing

 17      paragraph reflects the fact that the confirmation of the

 18      plan requires the exculpated parties to engage in certain

 19      conduct and the fact that no regulatory authority has taken

 20      the position during the confirmation hearing that such

 21      conduct actually would violate applicable laws or

 22      regulations.     Nothing in this provision shall limit in any

 23      way the powers of any governmental unit to contend that any

 24      rebalancing transaction should be stopped or prevented or

 25      that any other action contemplated by the plan should be

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  1      enjoined or prevented from proceeding further, nor does

  2      anything in this provision limit the enforcement of any

  3      future regulatory or court order that requires that such

  4      activities either cease or be modified, nor does anything

  5      limit the penalties that might be applicable if such a

  6      future regulatory order is issued and violated.      Similarly,

  7      nothing herein shall limit the authority of the committee on

  8      foreign investment of the United States to bar any of the

  9      contemplated transactions, nor does anything in this

 10      provision alter the terms of the plan regarding the

 11      compliance of the purchaser with applicable laws in the

 12      unsupported jurisdictions before distributions of

 13      cryptocurrencies occur in those unsupported jurisdictions.

 14                   This morning when this language was discussed,

 15      somebody asked if we could add a typical exclusion for

 16      liabilities that reflect actual fraud or willful misconduct.

 17      I don’t think anybody objects to the addition of such an

 18      exclusion.

 19                   As I understand it, the government has argued that

 20      even an exculpation provision of this kind somehow amounts

 21      to a third party release that offends the principles set

 22      forth in Judge McMahon’s decision in the Purdue Pharma case

 23      or that it otherwise represents an impermissible effort to

 24      interfere with the discretion of regulatory authorities or

 25      otherwise exceeds my jurisdiction.

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  1                  I think most of the arguments that the government

  2      has made in that regard are complete red herrings.             They

  3      pose reasons and explanations and legal justifications for

  4      what I am doing that are absolutely not the actual legal

  5      justifications for what I am doing and then rebut those

  6      irrelevant purported legal justifications.

  7                  The actual authorities on which I have relied,

  8      including my own Aegean decision and the decisions that I

  9      cited in there are not even discussed in the objections and

 10      supplemental submissions that the government authorities

 11      made to me.

 12                  I am not barring the government from trying to

 13      stop transactions from occurring.            I am not barring any

 14      regulatory contention at all.         I am simply saying that when

 15      the government has declined to argue that the rebalancing

 16      transaction that the plan contemplates are legal and/or the

 17      government has declined to argue that the distributions of

 18      cryptocurrencies to creditors that the plan contemplates,

 19      either through Binance, or by Voyager if the so-called

 20      toggle plan is pursued, are illegal in any way, that

 21      individuals who entities who upon confirmation will be

 22      required to engage in those activities are entitled to know

 23      that I am not thereby sentencing them to an ex post facto

 24      contention or finding that they have unknowingly and

 25      unwittingly and involuntarily incurred statutory or

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  1      regulatory liabilities for doing what I have ordered that

  2      they can do and what my confirmation order compels them to

  3      do.   That is fully consistent with ordinary bankruptcy

  4      practice with the authorities that I have cited above and

  5      with basic principles of equity and estoppel.         It is a fair

  6      and proper consequence of the government’s own unwillingness

  7      or inability to challenge the legality of the contemplated

  8      transactions during the hearing that I have held and of the

  9      fact that I am entering an order that as a statutory matter

 10      not only approves those transactions, but actually requires

 11      them to be carried out.

 12                  I note that the government itself has conceded in

 13      the supplemental papers that it filed that many courts have

 14      considered participants in bankruptcy proceedings to be

 15      protected by a species of qualified immunity for undertaking

 16      transactions specifically approved by the bankruptcy court.

 17      I think that in effect that is all that I am doing here.

 18      And I am not by any means preventing the enforcement of any

 19      law or regulation.    Also, I am not stopping any regulatory

 20      body from stepping in and attempting to enjoin any act or

 21      transaction on any applicable regulatory ground.         If the SEC

 22      or any other party believes tomorrow that it has grounds to

 23      go to court to enjoin further steps in the completion of

 24      this transaction, it is entitled to do so.         I am not barring

 25      any such thing.    I am simply saying that if we get six weeks

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  1      down the road and then the SEC decides to take action, that

  2      in fairness to the people who have spent six weeks doing

  3      what I have compelled them to do, those people cannot have

  4      liabilities and sanctions and penalties imposed upon them.

  5                  I also have a suggestion by the government both

  6      today and in the papers that I should simply say nothing

  7      about these issues and that if somebody is entitled to

  8      immunity of any kind for doing what I have ordered them to

  9      do, well, they can just raise that sometime in the future in

 10      some other regulatory context and we can just guess as to

 11      whether another court might agree with me or whether another

 12      court might agree that I even intended to grant such freedom

 13      to such people and that otherwise those people should just

 14      be left at risk as to what a future court might decide.

 15                  I don’t see how that makes any sense at all.         If

 16      the whole idea here is that I am directing something that

 17      gives rise to qualified immunity, I should be the one that

 18      says what the scope of that immunity is.           Not only does it

 19      make sense for me as the court that’s making the order to

 20      give that guidance and to make that decision, the people who

 21      are actually going to be required to do what I am compelling

 22      are entitled to know that that’s what I am doing, and they

 23      are entitled to know that when they do what I have told them

 24      to do, it is not subject to the risk that, as I said, that

 25      they are being involuntarily sentenced to some sanctions for

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  1      having done so.     So in that respect, I think the

  2      government’s suggestion is completely off-base.

  3                  I also note that the government has taken very --

  4      have made very broad-ranged accusations that somehow this is

  5      completely beyond my jurisdiction and completely unusual and

  6      completely beyond my authority.        I think it’s completely

  7      within my authority for the reasons that I have cited.           And

  8      I also note that that contention by the government is belied

  9      by the literally thousands of confirmed bankruptcy plans

 10      over the past more than 20 years I am sure that have

 11      included similar exculpation provisions without any

 12      complaint whatsoever by any of these same governmental

 13      authorities.    In fact, I have approved similar provisions in

 14      my time as a bankruptcy judge and recall no objections to

 15      them of the kind that the governmental authorities have

 16      raised over the past two days.

 17                  I also have an objection by the State of New York

 18      to the effect that the plan allegedly provides for an unfair

 19      discrimination in the treatment of New York customers as

 20      opposed to customers in other states.           The State of Texas

 21      has made a similar objection.        It appears though that the

 22      Debtors and Binance U.S. have resolved a similar issue as to

 23      Vermont and possibly as to Hawaii.          In any event, the State

 24      of Hawaii has not pressed any objection before me during

 25      this hearing.     The gist of the New York objection is that

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  1      customers in 48 states where Binance has the required

  2      licenses may receive cryptocurrency distributions relatively

  3      quickly but that Binance and the Debtors cannot legally do

  4      the same thing in New York.      Accordingly, customers in New

  5      York would have to wait until such time as Binance may

  6      obtain the necessary approvals in New York.         Under the plan,

  7      if such approvals are not obtained within six months, the

  8      New York customers will receive cash distributions instead

  9      of distributions that include cryptocurrencies.

 10                  Curiously, although the State of New York and the

 11      State of Texas have filed objections, it does not appear

 12      that a single New Yorker accountholder has objected on this

 13      ground, and perhaps only one Texas accountholder.         This

 14      perhaps raises a standing issue as to the State of New York,

 15      but I do not believe I need to consider that question

 16      because I believe that in any event, the objection does not

 17      have merit.

 18                  New York has asserted that the plan unfairly

 19      discriminates between customers in New York and customers in

 20      other states.    Unfair discrimination technically is not

 21      really the right way to describe the objection.         Section

 22      1129(b) of the Bankruptcy Code provides that a plan may be

 23      confirmed even if not all classes have voted to accept it so

 24      long as certain conditions are met.         One of those conditions

 25      is that the plan does not discriminate unfairly with respect

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  1      to each class of claim or interest that is impaired under

  2      and has not accepted the plan.       Here, the relevant class is

  3      Class Three, which is made up of accountholders.            That class

  4      has overwhelmingly voted to accept the plan.

  5                  I think what the state regulators really mean to

  6      argue is that the plan allegedly does not provide the same

  7      treatment to all members of Class Three as is required by

  8      Section 1123(a)(4) of the Bankruptcy Code.

  9                  I think there may have been a basis for this

 10      objection insofar as it related to the treatment of

 11      accountholders who chose not to receive cryptocurrencies and

 12      who instead wished to take cash distributions.            The plan as

 13      proposed would have allowed most customers to receive cash

 14      once three months had passed and they had not affirmatively

 15      elected to be customers of Binance.         Customers in the

 16      unsupported jurisdictions, however, would have had to wait

 17      six months while Binance tried to work things out with

 18      regulators even if they did not want to be Binance U.S.

 19      customers and even if they wanted cash.            Binance, however,

 20      as I have noted, has agreed to change this provision and now

 21      the treatment of creditors who want cash is exactly the same

 22      in all states.

 23                  I do not otherwise believe that the objection is

 24      correct.    It is quite clear that the Debtors and Binance

 25      U.S. would like to make in-kind distributions to all

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  1      customers in all states.      It is not the terms of the plan

  2      that prevent the Debtors and Binance from doing so, it is

  3      the different regulatory requirements and licenses in the

  4      different states that account for any different treatment

  5      that may occur.     Or to put it another way, the plan provides

  6      in essence that the Debtors will make in-kind distributions

  7      to customers as soon as they become customers of Binance and

  8      as soon as the applicable rules and regulations in a given

  9      state permit such distributions.

 10                   However, we are not free to ignore the fact that

 11      in certain states, that cannot be accomplished as readily as

 12      in others.     That does not mean that the plan is providing

 13      for different treatment of different customers, it just

 14      means that the plan itself does not have the power to sweep

 15      away the different regulations that apply in different

 16      states and does not have the power to grant licenses to

 17      Voyager and/or Binance that they do not already have.

 18                   Every customer’s initial distribution rights will

 19      be determined on the effective date -- excuse me, on the

 20      same date.     The different regulatory regimes in different

 21      states may mean that some customers receive distributions on

 22      different dates or in different forms, but the Debtors

 23      cannot do anything about that.        The only solution to the

 24      problem New York has raised would be to force everyone in

 25      the entire country to delay their distributions until such

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   1      time as the necessary approvals are in place, if ever, to

   2      make distributions to New York customers.          That would not

   3      make any sense and it is not required by any provision of

   4      the Bankruptcy Code, and the State of New York acknowledged

   5      during argument yesterday that it is not requesting such a

   6      result.

   7                  At one point I believe one of the unsupported

   8      jurisdictions argued that cryptocurrency prices can vary

   9      over time so the value of the consideration that customers

  10      receive may be different when the customers actually receive

  11      it.   But that often happens under bankruptcy plans.

  12                  In the American Airlines case, for example,

  13      creditors were entitled to receive stock as distributions on

  14      their allowed claims.    There were many disputed claims,

  15      however.    And the people who held those claims only received

  16      stock as and when their claims were allowed.

  17                  In the Meantime, the stock price changed,

  18      sometimes very significantly.       But there was no way for the

  19      debtors to control for those price changes and no practical

  20      way for any debtor to ensure that the stock that was

  21      reserved and later distributed would have the same value on

  22      every distribution date.     The creditors received the same

  23      amounts of stock, which is all that the Bankruptcy Code

  24      required, and as a practical matter, the only thing that the

  25      bankruptcy could require when property other than cash is

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   1      being distributed.

   2                     Similarly here, the Debtors cannot solve for the

   3      fact that cryptocurrency prices inevitably will fluctuate.

   4      The distributions that are calculated for creditors will be

   5      done on the same day and on the same basis.                 However, some

   6      creditors will have disputed claims and will not receive

   7      distributions until disputes are resolved.                 Other creditors

   8      may face delays due to regulatory issues or simply due to

   9      delays in their own submission and processing of paperwork

 10       needed to open the Binance account.                 It is just inevitable

 11       that some customers will actually receive distributions on

 12       different dates and that market values on those dates may

 13       fluctuate, but that does not amount to an unequal treatment

 14       proposed by the plan.       I therefore overrule the objections

 15       as to the plan’s treatment of customers in unsupported

 16       jurisdictions.

 17                      There were also objections that were filed as to

 18       the identity of the proposed plan administrator, Mr. Paul

 19       Hage.       Many of the objections suggested that the job should

 20       not go to anyone associated with the Official Committee of

 21       Unsecured Creditors or their individual members apparently

 22       because a number of accountholders are not happy with the

 23       Committee’s decisions and its work.

 24                      Mr. Hage testified about his qualifications and

 25       answered questions about his work in this case and also

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   1      whether he has any conflicts of interest that would prevent

   2      him from serving as the plan administrator.        He testified

   3      that he was the personal attorney to an individual who was a

   4      member of the Unsecured Creditors’ Committee and that at the

   5      outset of the case he gave some advice to committee members

   6      as to how they could organize the process by which they

   7      selected a law firm to act as counsel to the committee.

   8                  A number of customers postulated that the

   9      individual who Mr. Hage represented was a close friend of

  10      Mr. Ehrlich, the CEO of the Debtors, and that this had

  11      improperly influenced the Unsecured Creditors’ Committee in

  12      considering the settlement with Mr. Ehrlich that is embodied

  13      in the plan.

  14                  However, Mr. Hage testified credibly that the

  15      relevant committee member was a large customer of Voyager

  16      whose friendly relationship with Mr. Ehrlich ended when

  17      Voyager shut down its platform.       Mr. Hage further testified

  18      that the relevant committee member actually spoke out

  19      against the proposed settlement when this was presented for

  20      the committees’ review and that he ultimately abstained from

  21      voting after the votes of other committee members had

  22      already made clear that the creditors’ committee approved of

  23      the settlement terms.

  24                  I do not believe that the evidence supports the

  25      contention that Mr. Hage’s limited connections to this

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   1      committee member gave rise to conflicts of interest or that

   2      in the real world they would affect his work.

   3                   There were objections as to whether Mr. Hage

   4      should be appointed because he has never been a plan

   5      administrator before.     Anybody who has extensive experience

   6      in the bankruptcy world and has represented both debtors and

   7      creditors is qualified to do the work that a plan

   8      administrator in a case such as this will be required to

   9      perform.     And Mr. Hage absolutely has those qualifications

  10      in spaces.

  11                   There were also expressions of concerns by some

  12      pro se investors that I can only say amount to a desire to

  13      have more of a pit bull as a plan administrator, someone who

  14      will be absolutely more aggressive and satisfy the desires

  15      of some people for more aggressive treatment of the people

  16      who ran Voyager and more aggressive pursuit of potential

  17      litigation claims.

  18                   I understand what’s behind that attitude.    It does

  19      not actually in the real world translate into what makes for

  20      an effective plan administrator, or in my personal

  21      experience, what makes for an effective litigator.       People

  22      who aren’t lawyers sometimes think that it is the snarliest

  23      and nastiest people who are the most effective litigators.

  24      People who actually do litigation and certainly judges know

  25      that those are often the people who are the least effective

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   1      litigators.     They are the most annoying and they may satisfy

   2      clients’ desires to inflict pain on an adversary, but by all

   3      means they are absolutely not necessarily the most

   4      effective.     So I don’t think that particular criticism of

   5      Mr. Hage is well-taken and I find that he is qualified for

   6      the work and that his appointment is reasonable.

   7                   An ad hoc group of equity securityholders objected

   8      to the way the plan described the treatment of intercompany

   9      claims.     I was under the impression that had been resolved

  10      until yesterday.     Some additional questions were raised.         I

  11      won’t go into those in detail because the Debtors have now

  12      agreed and have disclosed the names of the people who will

  13      serve as independent directors of each of the separate

  14      debtor estates, and it is clear that if there is a conflict

  15      of interest between those estates, that the independent

  16      directors will have the right to appear and be heard on any

  17      issue involving where such a conflict exists.          And I

  18      understand that those provisions had been included in the

  19      plan documents and that this objection is resolved.

  20                   A lot of other objections have been resolved and

  21      don’t need to be discussed in detail here.          The amended

  22      plan, as requested by the U.S. Trustee, has deleted

  23      provisions deeming all claims to be objected to.          The

  24      proposal that the winddown debtor would have the sole

  25      authority to object to claims has been deleted.          Provisions

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   1      regarding the treatment of late claims have been modified to

   2      make clear that they will be disallowed only as I so order.

   3      Some Alameda FTX had at one point had objections, but it has

   4      dropped its objections.

   5                  The Bank of New York had an absolutely curious

   6      objection based on the odd fact that somebody apparently

   7      purported recently to transfer some real property to

   8      Voyager’s name and Bank of New York has a mortgage lien on

   9      that property.    That one was relatively easy to dispense

  10      with, and the confirmation order will provide Voyager is not

  11      claiming any ownership or interest in that property and that

  12      the automatic stay is no bar to the Bank of New York doing

  13      whatever it needs to do to enforce its mortgage.

  14                  I had previously indicated yesterday that I

  15      thought that the plan needed to be modified to say that --

  16      to delete the provisions that said that the plan

  17      administrator and the Debtor do not have responsibility to

  18      try to locate people for whom checks or other communications

  19      were returned as undeliverable.       Those provisions have been

  20      changed and I am satisfied with those changes.

  21                  I also said that the proposed provisions regarding

  22      professional fees had to be modified to make clear that

  23      their fees and their compliance with the provisions of the

  24      Bankruptcy Code have to continue through the effective date,

  25      not just through the confirmation date.            I haven’t actually

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   1      seen if those changes have been made, but I cannot imagine

   2      that they are controversial at all.

   3                  Finally, there are a few other objections that

   4      were made but that I do not believe had merit.      One owner of

   5      the VGX token argued that owners of VGX are being unfairly

   6      discriminated against.     This is based primarily on the fact

   7      that there is no guarantee that the VGX token will continue

   8      to be traded in a meaningful way and therefore assurance

   9      that the VGX token will continue to have much if any value.

  10                  I note that under the terms of the plan, the

  11      amount of the allowed claims that customers have based on

  12      their VGX holdings will be based on the value that VGX had

  13      on the date that the cases were commenced and not based on

  14      its current value.

  15                  However, to the extent that some of the customers’

  16      distributions will be in the form of VGX, the values of

  17      those distributions will be based on the value that VGX has

  18      on a specified date in advance of the actual distributions.

  19                  The goal is to try, if possible, to make some in-

  20      kind distributions if they can be made, thereby possibly

  21      reducing tax consequences.      But we have no guarantee that

  22      will work from a tax perspective.

  23                  I do not believe the Debtors are in a position to

  24      guarantee that VGX will continue to be traded any more than

  25      the Debtors can guarantee that any of the other coins that

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   1      will be distributed will continue to be traded.               Similarly,

   2      the Debtors can make no guarantees about what will happen to

   3      the future values of any of the coins.               Those are all things

   4      that will depend on market forces.

   5                    Customers who elect to receive in-kind

   6      distributions instead of cash distributions will receive VGX

   7      if they previously owned some VGX.           But I don’t think this

   8      amounts to a deferential treatment or an improper

   9      discrimination in violation of any code requirements.

  10                    The gist of the suggestion I think yesterday was

  11      that it is okay to treat other cryptocurrencies as having

  12      values based upon their market prices, but that somehow the

  13      market prices of VGX are actually illusory.               Ordinarily, the

  14      market price of an asset represents the market’s assessment

  15      of the potential risk and rewards associated with that

  16      asset.      Even when a stock or other marketable item may

  17      appear to have little future prospect of value, it may

  18      nevertheless carry an option value based on the possibility

  19      that circumstances will occur that will lead to future

  20      values.      Those option values or other market values are real

  21      values in the absence of proof to the contrary.               And I

  22      certainly understand the objectors’ worries about VGX, but I

  23      have no contrary proof here or nothing that would allow me

  24      essentially to say that the VGX token should be excluded

  25      from the distribution process and treated just as though it

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   1      didn’t exist and just as though its value was a nullity.

   2                   I have one objection to the effect that the plan

   3      does not provide for a recovery for the holders of equity at

   4      the ultimate holding company level.          In fact, the plan makes

   5      clear that those equity holders will be entitled to

   6      distributions if that ultimate holding company has assets

   7      once it pays its own creditors in full, although the current

   8      predictions are that that will not happen.

   9                   I believe I have addressed all of the objections

  10      that have been filed.     And for the reasons stated, I have

  11      overruled the remaining objections.          I therefore will

  12      confirm the plan subject to the changes that I have

  13      described.

  14                   As to the confirmation order, there are a number

  15      of provisions that seem to me to be superfluous or

  16      repetitive or otherwise unnecessary, or in a few instances

  17      improper.     And I have made substantial revisions to the

  18      proposed confirmation order.       And this morning, without

  19      making any changes that would suggest how I would rule here,

  20      I gave a form of confirmation order to the Debtors that

  21      showed those other changes that I would require in the event

  22      I were to confirm the plan.       There are a lot of questions

  23      and a lot of things that are in the draft order that may not

  24      necessarily work in light of other provisions that I

  25      understand are in the plan, but I’m not going to try to

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   1      address those now.       We will over the course of the next day

   2      or so try to work out the terms of the final confirmation

   3      order and any of those remaining issues will be resolved in

   4      that process.

   5                  Is there anything else that anybody thinks I need

   6      to address in the course of this decision on the

   7      confirmation?

   8                  MR. ARONOFF:     Your Honor, this is Peter Aronoff

   9      from the U.S. Attorney’s Office for the Southern District of

  10      New York.

  11                  We had filed a letter around midday today

  12      requesting that the Court modify the provision in the

  13      confirmation order regarding the 14-day default stay

  14      (indiscernible).     I know other parties have also raised

  15      that.   I just wanted to (indiscernible).

  16                  THE COURT:     I suspect that’s why Mr. Morrissey is

  17      also standing up.     I’m not going to give you the 14-day

  18      stay, but I’m not going to force some poor district judge to

  19      live with the kind of schedule I’ve been living with over

  20      the last five days.       And so I will give you a -- if we enter

  21      an order tomorrow, I will stay its effect until Monday.

  22                  MR. ARONOFF:     Understood, Your Honor.

  23                  THE COURT:     Before I say that I’m going to do

  24      that, is that going to violate some term of the Binance U.S.

  25      deal?

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   1                  MR. SLADE:     That’s why I was looking at Mr.

   2      Goldberg.

   3                  MR. GOLDBERG:     Your Honor, Adam Goldberg with

   4      Latham & Watkins.    Binance U.S.’s goal is to complete this

   5      transaction as quickly as possible.             If I could have two

   6      minutes to confer with the Debtors, we could see if that’s

   7      an issue.

   8                  THE COURT:     Okay.

   9                  MR. GOLDBERG:     Your Honor, that would -- we are

  10      okay with that provision.          Thank you.

  11                  THE COURT:     Okay, thank you.           All right.   I do

  12      have another issue, but do you have a point on the

  13      confirmation itself, Mr. Morrissey?

  14                  MR. MORRISSEY:      Your Honor, on the stay issue,

  15      frankly, Your Honor, I have to get back to the U.S. Trustee

  16      regarding whether Monday is okay.           The issue obviously is,

  17      as I’m sure the people here are aware, is whether we would

  18      need to request a stay pending appeal.                We would all like to

  19      avoid that scenario.       But I have to find out whether the

  20      extension until Monday will put that issue to bed, at least

  21      for now.    Thank you, Your Honor.

  22                  THE COURT:     All right.      Okay.       I also have before

  23      me a motion to appoint a trustee or motions to --

  24                  MS. DIRESTA:     Your Honor, can I ask a question

  25      about the customer data?

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   1                  THE COURT:     Let me finish this first.       Okay?

   2                  MS. DIRESTA:     Okay, thank you.

   3                  THE COURT:     But promise I won’t forget you.

   4                  I have a motion to appoint a trustee or motions to

   5      appoint a trustee and/or to remove the Unsecured Creditors’

   6      Committee members and replace its advisors.

   7                  The Code provides that I may appoint a trustee for

   8      cause at any time before the confirmation of the plan, of

   9      course based on my decision that we are now less than a day

  10      away from the entry of an order confirming a plan.            There is

  11      no way, even if I were to order the appointment of a

  12      trustee, that one would be in place before the whole issue

  13      would be moot, as the confirmation order will have been

  14      entered.    I know that’s frustrating for the people who have

  15      raised the motion, but I also think that while the motion

  16      makes a lot of accusations that actually have not really

  17      been answered by the Debtors, at this late stage in the case

  18      and right during the middle of the confirmation process, I

  19      can’t see how the issues that were raised were of a kind

  20      that would provide cause to interrupt that process and to

  21      throw everything back into disarray.            It just wouldn’t have

  22      made sense to me if for reasons I said yesterday I didn’t

  23      really think that there was cause at this stage of the case.

  24                  I also have two motions for returns of assets that

  25      essentially argue that customers should be allowed to take

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   1      out everything that was in their accounts and shouldn’t be

   2      given only partial distributions as the plan contemplates.

   3      I simply cannot allow that.         No bankruptcy case could allow

   4      that.   If one customer started doing that, it would just

   5      mean that the next customer would get less.           And the whole

   6      point of the Bankruptcy Code is to make sure that everybody

   7      gets equal distributions.         And since there’s not enough to

   8      go around here, nobody can get everything that was in their

   9      accounts.    That’s simply a basic matter of bankruptcy.         So I

  10      will deny those objections.

  11                  And you had a question about the customer

  12      information?    On the phone?       I’m surprised I don’t already -

  13      -

  14                  MS. DIRESTA:     Yes.    Thank you, Your Honor.

  15                  THE COURT:     I’m surprised I don’t already

  16      recognize your names or your voices, but I’m afraid I don’t.

  17                  MS. DIRESTA:     Gina DiResta, Your Honor.

  18                  THE COURT:     Yes.

  19                  MS. DIRESTA:     So I wanted to ask, my home address,

  20      is that part of the level one or level two KYC that was

  21      being mentioned?

  22                  THE COURT:     Do you know the answer?

  23                  MS. DIRESTA:     Because I want to know if my home

  24      address is going to stay with Binance or not.

  25                  MR. GOLDBERG:     Adam Goldberg of Latham & Watkins

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   1      on behalf of Binance U.S., Your Honor.                 Home addresses would

   2      be part of level one data that would be transferred.

   3                   THE COURT:     I’m sure that’s level one.

   4                   MS. DIRESTA:     Okay.     And then what about the

   5      biometric?     You didn’t mention that.

   6                   MR. GOLDBERG:     Could you specify what you mean?

   7                   MS. DIRESTA:     When you have to hold the phone to

   8      your face and it does this biometric configuration of your

   9      face and captures your data and it stores all of that.

  10                   MR. GOLDBERG:     I mean, I would think that’s part

  11      of the selfies that would be available.                 So customers will

  12      be entitled to opt out of the transfer of that data to

  13      Binance U.S.

  14                   THE COURT:     Your phone recognizes your face.

  15      That’s just on your phone, isn’t it?

  16                   MR. SLADE:     Yeah.     I think the biometrics is an

  17      Apple function, not --

  18                   MS. DIRESTA:     No, it gets sent.

  19                   THE COURT:     It gets sent?       That’s news to me.

  20                   MS. DIRESTA:     Yeah, the biometric information does

  21      get sent to the company.

  22                   MR. GOLDBERG:     Your Honor, we have agreed that we

  23      are not acquiring selfies or this data for customers that

  24      opt out.

  25                   THE COURT:     Do you mind adding biometric data to

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   1      what you’re agreeing to exclude?

   2                  MR. GOLDBERG:     Yes, Your Honor.

   3                  THE COURT:     Okay.     So they will exclude that.

   4                  MS. DIRESTA:     Okay.     And with regard to the social

   5      security information.       And the attorney for Binance was

   6      saying that it would be costly and it would cost $20 per

   7      customer and there’s a million customers.             I just want to

   8      address the math on that.          On paper, there’s about 1 million

   9      customers of Voyager.       I believe there’s about 700,000

  10      accounts that have under $100.          And I believe there’s about

  11      400,000 accounts that are under $10.            So those are kind of

  12      more like (indiscernible) accounts.            And you can kind of see

  13      that with how many people actually participated in voting,

  14      which is under 62,000 people.          And then supposedly 175,000

  15      people have already opened accounts.            There are only 2,117

  16      people who voted no to the plan like I did.             So if you

  17      assume that in a two-week opt-out period that all 2,117

  18      people were to opt out, that only equates to $32,340 that

  19      Binance would have to pay if you pretend that all of those

  20      people decide to turn around and open an account.             So I just

  21      (indiscernible) company that deals in billions of dollars,

  22      that that’s a lot of money and that that would break them.

  23      And if they think it will, I’m happy to pay the $20 to

  24      reinstate all of my KYC information for level one in the

  25      event I ever lose my mind and decide to open a Binance

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   1      account.    But I just don’t think when you look at it

   2      mathematically there’s justification for holding the social

   3      security number.     I just don’t think it’s justified based on

   4      the math.

   5                  THE COURT:     Can you take that back to your client,

   6      Mr. Goldberg?

   7                  MR. GOLDBERG:     Your Honor, Adam Goldberg from

   8      Latham & Watkins on behalf of Binance U.S.            I will of course

   9      take that back to my client, but I fully expect the answer

  10      will be we are not making any changes to the deal that has

  11      been proposed and that is supported by 97 percent of

  12      customers voting.

  13                  MS. DIRESTA:     Thank you for allowing me to speak,

  14      Your Honor.

  15                  THE COURT:     Okay.

  16                  MR. LOREN:     Your Honor, this is John Loren, pro se

  17      creditor.     I have a few questions regarding Binance.

  18                  THE COURT:     Just hang on.       Hang on one second, Mr.

  19      Loren.

  20                  Mr. Goldberg, I’ve given you a lot of these things

  21      to take back.     In the real world, I don’t know how many

  22      people will take advantage of this election that I am making

  23      available and just what effect it would be or especially

  24      what effect it would be if, as the customer just suggested,

  25      people who made the election and then wanted to be Binance

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   1      customers would have to pay you the $20 that you say it

   2      would cost.     I understand you don’t want to do this and

   3      wouldn’t want to do this if, you know, it would mean 700,000

   4      potential customers are going to leave you.              I find it hard

   5      to believe that that’s really what we’re talking about here.

   6      And it certainly makes me more comfortable if customers have

   7      the right to stop their social security information.              So

   8      just keep that in mind and talk to your client as a

   9      practical matter about whether it’s really so important that

  10      they want to make me try to figure out what I have to do

  11      here and whether it’s a small enough issue that they could

  12      just do what I’ve asked.         Okay?

  13                   MR. GOLDBERG:     I understand, Your Honor.        Just to

  14      give you some insight onto this issue, we sought to

  15      negotiate a way to leave behind all of this data with the

  16      Debtor.     It would require a meaningful price modification

  17      per customer that opted out.          And the Debtors flatly

  18      rejected that.     Understandably.        This is I think in the end

  19      therefore an issue of business judgement of the Debtors in

  20      selling their assets.        Thank you, Your Honor.

  21                   THE COURT:     Thank you.      All right.    Mr. Loren, you

  22      had a question.

  23                   MR. LOREN:     That is correct, Your Honor.        Thank

  24      you for your time.        I have two questions in regards to the

  25      Binance withdrawal process.          There are fees to withdraw

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   1      crypto from Binance.     Will that fee be waived for Voyager

   2      users or are we expected to pay Binance to withdraw?

   3                  THE COURT:   Does anybody here know?

   4                  MR. GOLDBERG:   Your Honor, I don’t know.       I think

   5      all of that would be disclosed on the Binance U.S. website.

   6                  THE COURT:   I don’t think any of the attorneys

   7      here know the answer to your question.

   8                  MR. LOREN:   Okay.     I am on the Binance website,

   9      and there are fees to withdraw.        So (indiscernible) pay

  10      Binance to get our money.        The second question is in regards

  11      to the daily withdrawal limit.        I believe there’s a limit of

  12      $5,000 U.S. Dollars per day to withdraw from Binance.             Will

  13      that be waived for Voyager users?         Will my claim take a

  14      month to get my money out of Binance?

  15                  MR. GOLDBERG:   Your Honor, Adam Goldberg with

  16      Latham & Watkins on behalf of Binance U.S.

  17                  I am being told that the limit depends upon the

  18      level of KYC that a customer complies with.          So if they

  19      achieve the KYC two level with the additional document

  20      uploads, then there would be different withdrawal limits.

  21      But I would expect all of this information is available

  22      through Binance U.S. website and customer service inquiries.

  23                  MR. LOREN:   Got it.     Because the website I see is

  24      showing $5,000 withdrawal per day.          And that’s going to take

  25      me a month to get my money.        And I have to pay them to get

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   1      my money, too.     It’s very sad.

   2                   THE COURT:     Let me ask you to -- I certainly have

   3      no ability to answer this question or to deal with it.               This

   4      is a practical question.         Let me ask you to get in touch or

   5      ask the Debtor’s counsel to get in touch with you and see if

   6      they can facilitate putting you in touch with somebody who

   7      can give you a very precise answer to your questions.               Okay?

   8                   MR. LOREN:     Okay.    Thank you for your time.

   9                   THE COURT:     All right.      Anything else?

  10                   MR. SLADE:     Not from us, Your Honor.         Thank you

  11      very much.

  12                   THE COURT:     All right.      Yes.

  13                   MR. ARONOFF:     Your Honor, it’s Peter Aronoff from

  14      the U.S. Attorney's Office again.            I’m trying to run some

  15      things down here, talking with several people.

  16                   Just returning to the question of the stay.            You

  17      know, we were obviously trying to move as quickly as

  18      possible to try to make a decision about whether to seek an

  19      appeal.     That would require some coordination from the

  20      government.     And this is an issue that from my perspective

  21      only arose just within the last few days.              And so we’re now

  22      -- we’re moving as quickly as we can, but it takes time.

  23                   I believe this is a situation where having a

  24      little more time on the stay now will lessen the need for

  25      emergency applications when it’s possible wouldn’t be

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   1      necessary if we just have an extra few days.             And so I would

   2      ask that the Court --

   3                   THE COURT:     Listen, you discuss that with the

   4      parties if you can work that out with the parties.             If you

   5      can convince them that there’s some prospect that you’re not

   6      actually going to pursue the issue, you can look at it

   7      further.     I don’t know, maybe you can work something out

   8      with them.     But in the first instance, do that.          Okay?

   9                   MR. ARONOFF:     Okay.     Thank you, Your Honor.

  10                   THE COURT:     All right.      Your judge is very tired

  11      and he’s going to --

  12                   MR. HENDERSHOTT:      Your Honor.

  13                   THE COURT:     Yes.

  14                   MR. HENDERSHOTT:      Your Honor, Tracy Hendershott,

  15      pro se creditor.     One question and one comment if I may.

  16                   THE COURT:     Yes.

  17                   MR. HENDERSHOTT:      The question is actually for pro

  18      se creditor Lisa Trevino, who has had to focus on her day

  19      job today.     And she asked me to just put into the record if

  20      there was any follow-up with her action to getting data back

  21      that she requested from the Debtors.             Your Honor, once this

  22      confirmation is done today, she wasn’t sure if she was able

  23      to engage with you any further to follow up on that.                So I

  24      committed to her I would ask that in the hearing on her

  25      behalf.

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   1                    MS. OKIKE:   Your Honor, Christine Okike on behalf

   2      of Kirkland & Ellis.       We will provide her with the data.

   3      And if she needs an extension of the deadline with respect

   4      to the merit objection, we’ll allow for that.

   5                    THE COURT:   Very good.

   6                    MR. HENDERSHOTT:    Thank you.          I will relay that to

   7      her.     Thank you both.

   8                    And then just one comment.        I did want to clarify,

   9      Your Honor, your interpretation of our request for having a

  10      third party (indiscernible) -- I’m drawing a blank.                I’m

  11      tired.      We’re all tried -- for the winddown trustee.            We

  12      weren’t looking for a snarling bit pull, Your Honor.                We

  13      were looking for effectiveness.          You’ve seen the UCC go

  14      along with every single exception and (indiscernible) all

  15      along we just didn’t have confidence that there would be a

  16      level of (indiscernible), which is different.                Effectiveness

  17      is different than a snarling pit bull.                I just wanted to

  18      clarify that.

  19                    THE COURT:   All right.

  20                    MR. HENDERSHOTT:    Thank you, Your Honor.

  21                    THE COURT:   Well, if that’s true, maybe I’ll

  22      delete that part of my discussion and commentary from the

  23      final version of the decision.

  24                    MR. HENDERSHOTT:    Thank you, Judge.

  25                    THE COURT:   I thought I understood it differently.

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   1      But thank you for the clarification.

   2                   MS. OKIKE:   Your Honor, on behalf of the Debtors,

   3      we just want to thank you for taking extensive time to

   4      really help us navigate through very complex and challenging

   5      issues.     So we really appreciate it.

   6                   THE COURT:   okay.

   7                   MR. GOLDBERG:   Gratitude to Your Honor and all of

   8      your staff and chambers.       Thank you.      The Committee thanks

   9      you as well.

  10                   THE COURT:   Thank you all for your submissions,

  11      and we are adjourned.

  12                   (Whereupon these proceedings were concluded at

  13      5:14 PM)

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   2

   3              I, Sonya Ledanski Hyde, certified that the foregoing

   4      transcript is a true and accurate record of the proceedings.

   5

   6      <%12151,Signature%>

   7

   8      Sonya Ledanski Hyde

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